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                         EXHIBIT 15
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                     UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF MASSACHUSETTS


COMMONWEALTH OF
MASSACHUSETTS; et al.,

                          Plaintiffs,
                                                No. 1:25-cv-_______________
      v.

ROBERT F. KENNEDY, JR., et al.,

                          Defendants.




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                       DECLARATION OF GANESH RAMAN, Ph.D.

       I, Ganesh Raman, Ph.D., declare under the penalty of perjury pursuant to 28 U.S.C. §

1746 that the foregoing is true and correct:

       1.      I am a resident of the State of California. I am over the age of 18 and have

personal knowledge of all the facts stated here or have knowledge of the matters based on my

review of information and records gathered by me and my colleagues at California State

University (“CSU”). If called as a witness, I could and would testify competently to the matters

set forth below.

       2.      I am currently employed by California State University as the Assistant Vice

Chancellor for Research

       3.      I submit this Declaration in support of the States’ Motion for a Temporary

Restraining Order.

Professional Background

       4.      I serve as the Assistant Vice Chancellor for Research at the California State

University (CSU) Office of the Chancellor, a role I have held for the past eight years. I am the

senior academic official responsible for the systemwide advancement, and administration of

CSU’s research and scholarly mission, overseeing 10 systemwide research consortia and

numerous multi-campus institutes and centers.

       5.      Prior to joining CSU, I served as Deputy Vice Provost for Research at the Illinois

Institute of Technology, where I also held a professorship in the Mechanical, Materials, and

Aerospace Engineering Department. I began my career at NASA Glenn Research Center. I am

internationally recognized for my research in aeroacoustics and flow control, with over 150

articles published in leading scientific journals and conference publications. I earned my Ph.D. in


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Mechanical Engineering from Case Western Reserve University. I serve on the Board of

Directors for the California Council on Science and Technology, California Life Sciences, and

the Long Beach Accelerator. I also have the distinction of being elected Fellow of the American

Society of Mechanical Engineers, American Institute of Aeronautics and Astronautics and the

Royal Aeronautical Society, UK.

Research Activity in the CSU

       6.      The CSU is the largest four-year public university system in the United States and

is the state’s greatest producer of bachelor’s degrees – awarding nearly 127,000 degrees each

year – driving the economy in health care, agriculture, information technology, business,

hospitality, life sciences, public administration, education, media and entertainment.

       7.      The CSU is responsible for providing higher education services to students across

the state of California and throughout the United States. Consisting of 23 university campuses,

nearly a dozen off-campus centers, and over 90 auxiliary organizations (several that are

dedicated to sponsored research), the CSU educates more than 450,000 undergraduate and

graduate students each year, and serves each of California’s regions, from Humboldt to San

Diego. The CSU offers more than 4,000 degree programs that align with workforce demands,

including in health care and the sciences. CSU alumni make up a global network that is over four

million strong. One in twenty Americans with a college degree earned it at the CSU. The CSU

has more than 63,000 employees.

       8.      The CSU receives extensive federal funding for research. The CSU is distinctive

for its experiential learning model, in which students work directly with faculty scholars on a

broad array of research, scholarship and creative activities. These hands-on, immersive

opportunities challenge students from all backgrounds to engage more deeply in their studies so


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that they can discover new passions, career paths and to push beyond conventional career

possibilities. Working alongside our students, the CSU’s faculty researchers apply their

immeasurable talents to expand knowledge in their fields to explore and develop cutting-edge

fields and to build deep connections with the communities we serve to address the most pressing

challenges.

       9.      A hallmark of CSU research is immersive student learning and discovery that

addresses society’s most urgent challenges, including those in health care, agriculture, water, fire

prevention and cybersecurity. Undergraduate students who participate in faculty-mentored

research are better prepared for future careers, graduate education and leadership roles that

contribute to their respective communities.

       10.     Supplementing the individual campuses’ research activities, the CSU also has 10

multi-campus research consortia that provide experiential learning opportunities for students, to

prepare them for the workforce and address vital needs in California and across the country.

       11.     The research activities at CSU campuses are largely administered through non-

profit, CSU auxiliary organizations. The California Education Code authorizes the establishment

of legally distinct, non-profit auxiliary organizations whose sole purpose is to support the

mission of the CSU. These CSU auxiliary organizations are operationally integral to CSU and

are authorized to perform limited, essential functions as defined by the California Code of

Regulations and the operating agreement between CSU and each auxiliary. Permissible functions

include the administration of externally funded projects for CSU campuses, including all grants

awarded by the NIH. (See Cal. Educ. Code §§ 89900 et seq.; 5 Cal. Code Regs. § 42500.)

       12.     As part of my responsibilities, I meet weekly with the Chief Research Officers at

each of the 23 CSU universities and collect data and information regarding grant awards and



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cancellations. The Chief Research Officers have reported significant delays in their dealings

with NIH including delays in responding to grant award applications and general inquiries. Over

the last month, the Chief Research Officers have reported that several grants awarded by the

National Institutes of Health (“NIH”) were abruptly cancelled. The Chief Research Officers also

advised that several universities received a notice from NIH to cease all project activities

associated with Undergraduate Research Training Initiative for Student Enhancement (“U-

RISE”), which is funded through a grant from the National Institute of General Medical Sciences

of NIH.

       13.     I provide this declaration to explain the devastating impact on the CSU system

and its universities as the result of the abrupt cancellation of several grants awarded by NIH, and

from the notice to cease all project activities associated with U-RISE.

Reliance on NIH Funding

       14.     CSU’s budget relies on federal grant funding for its teaching and research

mission, including, but not limited to, allocated funding for staffing, clinical trials, dissemination

of results, public outreach, teaching and training students and others, equipment, and numerous

other activities to fulfill its teaching and research mission, and serve the people of California and

the United States.

       15.     Federal funds are CSU’s single most important source of support for its research,

accounting for more than 60% of CSU’s total research awards.

       16.     For the fiscal year of July 1, 2023 to June 30, 2024 (“Fiscal Year 2024”), the total

amount of all federal research awards to the CSU was $599,688,000.

       17.     During Fiscal Year 2024, the CSU expended nearly $90 million in NIH contract

and grant funding to support approximately 250 projects across 18 of our universities, with the



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total multi-year award funding in the hundreds of millions of dollars. With the current pace of

grant terminations, CSU estimates this number will be dramatically reduced causing devastating

impacts to CSU universities, faculty and students.

       18.     NIH research funding supports the United States’ scientific competitiveness

worldwide and enables the U.S. to be a global innovation leader. NIH research funding has led to

scientific breakthroughs that have improved human health, including new treatments for cancer,

diabetes, and declining death rates for heart attack and stroke. Funding also supports research in

the biosciences and critical training grants to prepare the next generation of skilled workers.

       19.     Research funding is typically awarded through a competitive grant process,

meaning that the annual research budget varies from year to year and depends on the success of

CSU’s researchers in these competitions. Federally supported research comes to CSU

universities through CSU auxiliary organizations in a combination of both single- and multi-year

awards. NIH awards are typically multi-year projects. CSU’s universities collectively receive

and expend millions of dollars annually in multi-year awards for their projects, centers, and

institutes, and establish critical budget estimates for planning purposes in reliance on awarded

grant funds.

       20.     CSU universities receive NIH grants across a variety of institutes and centers

encompassed within the NIH.

       21.     NIH grants provide essential training and hands-on learning opportunities for

CSU students. Grant opportunities also provided stipend and other funding to CSU students, staff

and faculty. We estimate that the grant terminations and notice to cease project activities related

to U-RISE directly will impact more than 150 students, over 100 faculty, as well as several staff

members at CSU university campuses and will indirectly impact many others.



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Terminations of NIH Grants

       22.     As part of my responsibilities, I meet weekly with the Chief Research Officers at

each of the CSU universities and collect data regarding grant cancellations. Over the last month,

the Chief Research Officers have reported several grant cancellations by NIH. Based on my

review of the documentation shared with me as of April 1, 2025, I understand that NIH has

terminated 17 grants, including at least 5 grants where a CSU university auxiliary was the

primary grantee and at least 12 grants where the CSU university auxiliary serves as sub-grantee.

Examples of these terminations, include, but are not limited to the following:

               a. San Francisco State University, through The University Corporation – San

                  Francisco State, received 3 termination notices of multi-year grants, one

                  where it served as the primary awardee, and two where it serves as a sub-

                  awardee. These terminations have resulted in a loss of at least $4,527,437.24

                  in budgeted research funding to the university.

               b. San Diego State University, through San Diego State University Research

                  Foundation, received 11 termination notices from the NIH for multi-year

                  grants, including 4 where it served as the primary awardee and 7 where it

                  serves as sub-awardee. These terminations have resulted in a loss of at least

                  $1,575,880.62 in budgeted research funding to the university. These grants

                  are described in greater detail in the accompanying declaration of Hala

                  Madanat, Vice President for Research & Innovation, San Diego State

                  University.

               c. California State University, Fullerton, through CSU Fullerton Auxiliary

                  Services Corporation, received one termination notice of a multi-year grant.



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                     This termination has resulted in a loss of at least $853,583.14 in budgeted

                     research funding to the university.

                 d. California State University, Northridge, through the University Corporation,

                     received 2 sub-award termination notices of multi-year grants, resulting in the

                     loss of at least $162,070.70 in budgeted research funding to the university.

                 e. San José State University, through The Tower Foundation of San José State

                     University, has received one sub-award termination notice of a multi-year

                     grant, resulting in the loss of at least $15,316 in budgeted research funding to

                     the university.

       23.       The Notices of Award for the 17 grants described in Paragraph 22 are attached as

Exhibits 1-17.

       24.       The Termination Notices for the 17 grants described in Paragraph 22 are attached

as Exhibits 18-34.

       25.       These terminations alone will result in the combined loss of nearly $7 million in

budgeted research funding to CSU universities. CSU estimates that the total number is much

higher -- many CSU universities are currently closed for Spring recess and were not able to

provide information regarding the impacts to them. Additionally, while preparing this

declaration, I have been alerted to additional NIH grant cancellations that have not yet been

accounted for or reflected in the total number of grant cancellations or in the calculation of

financial impact.

       26.       As reflected in Exhibits 18-34, the termination notices sent by NIH to primary

grantees at CSU universities followed a template that offered minimal explanation and merely

stated that the research no longer “effectuates agency priorities.” I have spent many years



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overseeing the administration of university research programs, including eight years at CSU. In

my experience, grant terminations are rare and typically occur only in cases involving

misconduct or fraud. Prior to 2025, I had never encountered a federal agency canceling a grant

solely due to a shift in agency priorities.

        27.     The template termination notices also state that no corrective action can be taken

to ensure the grant aligns with agency priorities. Based on my communications with the Chief

Research Officers and review of the records provided, I understand that with respect to the

terminated grants, prior to receipt of the termination notice, no CSU universities were provided

with or informed of updated “agency priorities,” nor were CSU universities given an opportunity

to submit “corrected” grant materials to align with these new agency priorities.

        28.     The research grants awarded to CSU universities and terminated by NIH provided

a direct benefit to the health of all Americans. For example, several terminated grants explored

HIV prevention and outreach, including intervention to engage high-risk individuals along the

full PrEP care continuum. While some interventions examine impact on specific communities, all

efforts directly contribute to disease prevention in America. Mental health grants were

terminated, including a grant providing suicide prevention services to sexual and gender minority

youth. Notably, grant funding was terminated without any opportunity to bridge individuals at

high-risk of suicide to new service providers. NIH also terminated a grant studying hazardous

drinking and intimate partner aggression in a diverse sample of women and their partners.

U-RISE

        29.     Beginning on March 24, 2025 through April 1, 2025, at least 9 CSU universities

reported that NIH sent a notice to the university to “cease project activities” related to the grant




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program for Undergraduate Research Training Initiative for Student Enhancement (“U-RISE”).

Notification letters to CSU universities concerning U-RISE are attached as Exhibits 35-43.

       30.     On April 2, 2025, two of these campuses advised that they received a notice from

NIH terminating the U-RISE grant. The termination notices are attached as Exhibits 44 and 45.

We anticipate that other CSU university campuses will receive similar termination notices.

       31.     U-RISE is funded through a grant from the National Institute of General Medical

Sciences of NIH. The program aims to broaden perspectives in future scientific and biomedical

research by identifying students interested in pursuing research as a career and by providing

training opportunities to be competitive for entering graduate programs. This individual, student-

centric approach for enhancing undergraduate education provide hands-on research training and

mentorship for CSU students.

       32.     Students accepted into the U-RISE program receive trainee stipends as

subsistence allowances to help defray living expenses during research training experiences.

Trainee stipends are based on a full‐time, 12‐month appointment period and are built into the

financial aid package of each student recipient.

       33.     Funding for the U-RISE program may also support student trainee travel expenses

to attend and present at scientific meetings with their mentors, summer research experiences for

extramural research, university personnel expenses and supplies.

       34.     At least 9 CSU universities received a notice from NIH stating that the university

must “cease project activities as of the current budget period end date of 3/31/2025. Further,

please reconcile expenditures with disbursements in the Payment Management System as soon as

possible but no later than 4/4/2025, for project activities that occurred through 3/31/2025.

Additionally, please amend all active appointments in xTrain to end as of 3/31/2025.”



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       35.     As a result of this notice, the 9 CSU universities must immediately terminate

stipends for students in the middle of the semester. Based on the data I have received to date, I

am aware that 123 students are impacted. I have not received data from all 9 campuses and

expect that many more CSU students will be impacted. As student financial aid packages

account for U-RISE stipends, the mid-stream termination will cause direct and significant harm

to participating students.

       36.     If additional university campuses receive termination notices and U-RISE funding

is not restored, CSU estimates a loss of at least $5.5 million to CSU universities.

Comparisons Across Administrations

       37.     The recent activity by NIH is unprecedented. In prior years, under both

Democratic and Republican administrations, our institution never experienced this volume of

unexplained delays or procedural breakdowns.

       38.     Renewals were routine and predictable. This year, even long-standing, high-

performing programs are in limbo.

       39.     Terminations were exceedingly rare and followed due process. The current

approach is without precedent in our experience.

Impact on Institutional Operations and Irreparable Harm

       40.     Reduced or cancelled NIH funding inflicts a multifaceted hardship upon regional

public universities such as the CSU. Ongoing projects are forced to grind to a halt, wasting the

valuable resources already expended and delaying scientific progress. Innovation is stifled,

impeding the development of new medical treatments, technologies, and public health initiatives.

       41.     CSU must grapple with maintaining essential research infrastructure, facing

financial strain that can lead to layoffs of researchers, staff, and support personnel. Recently



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received grant terminations have placed CSU universities in an immediate state of review and

analysis of non-cancellable financial obligations and mitigation efforts for each project.

Mitigation efforts include identification of alternative fund sources both internal and external to

the university, and employment placement. There are very limited institutional resources

available given projected cuts to the state budget. As a result, program activities are being forced

to stop activities, reduce project personnel, and shutdown programs.

       42.     The economic repercussions extend well beyond the university, affecting local

businesses and industries reliant on university research activities, creating a ripple effect of

economic decline.

       43.     The impact is particularly severe on training grants, such as the U-RISE program

described above, and such programs are designed to train the next generation of the biomedical

research workforce and offer crucial support to students. Abrupt funding cuts or pauses disrupt

multi-year programs, leaving students in precarious situations mid-semester. The loss of stipends,

scholarships, and living expenses creates significant financial hardship, forcing some to abandon

their research and educational aspirations by dropping out of school. Reduced access to research

opportunities and mentorship diminishes students’ exposure to biomedical fields.

       44.     The impact of pausing or terminating NIH grants extends far beyond the direct

research outcomes, creating a substantial, yet often obscured, disruption to student education and

training. Traditional research grants, while primarily focused on project execution, typically

provide essential funding for 2-5 students, enabling them to gain invaluable hands-on research

experience and mentorship. Specialized training grants, like U-RISE, amplify this effect,

directly supporting cohorts of 12-18 students, and fostering their development as future

scientists. Furthermore, the indirect impact on student learning is substantial: funded professors



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integratetheir acquiredknowledgeandcutting-edgeresearchfindingsinto their curricula,

enriching the educational experience for a much larger student body. Consequently, grant

disruptionsnot only haltresearchprogress but also impedethe development ofthe next

generationofresearchersandlimit the disseminationofvital scientificknowledgeto a wider

student audience.

        45.    The long-tenn consequences are profound. Scientific and economic progress

slows, and the U. S. risks losing its global leadership in medical research and innovation. Delays

in developingtreatanents andcures negativelyimpactpublichealth. The abruptnaftire offunding

cuts inflicts emotional andacademicdistressupon students, damagingthe pipeline offuture

researchers.The CSU,withlimitedresources,bearsa disproportionateburden, exacerbating

financial strain and competitive disadvantages.

Conclusion


        46.    Thebreakdownin NIHprocessesis affectinginstitutional operations,planning,

andpublichealthpartnerships. Terminations anddelayswithno explanationor remedy are

underminingconfidencein the system. Theseharmsare ongoingand,in manyinstances,

irreparable.

I declareunderpenalty ofperjiiry underthe lawsofthe United StatesofAmericathatthe

foregoing is true and correct to the best of my knowledge.

        Executed this 2nd day ofApril, 202 , in Long Beac , C ifomia.

                                                       ^

                                      Ganesh Raman, Ph.D.
                                      Assistant Vice Chancellor for Research
                                      California State University




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                         EXHIBIT 18
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                                      San Diego            77-15
                                                State University          Filed
                                                                 Mail - FW:       04/14/25
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                                                                                                   Notification



                                                                                                Jennifer Sneed <jsneed@sdsu.edu>



  FW: [EXT] Grant Termination Notification
  1 message

  Steve Torok <steve.torok@sdsu.edu>                                                                     Fri, Mar 21, 2025 at 10:52 AM
  To: sdsurf_federalimpacts@sdsu.edu


    From: Bulls, Michelle G. (NIH/OD) [E] <michelle.bulls@nih.gov>
    Sent: Friday, March 21, 2025 9:35 AM
    To: steve.torok@sdsu.edu
    Subject: [EXT] Grant Termination Notification




    3/21/2025
    Steve Torok
    San Diego State University
    steve.torok@sdsu.edu


    Dear Steve Torok:
    Effective with the date of this letter, funding for Project Number 5R34MH129279-03 is hereby terminated
    pursuant to the Fiscal Year 2024 National Institutes of Health (“NIH”) Grants Policy Statement,[1] and 2
    C.F.R. § 200.340(a)(2). This letter constitutes a notice of termination.[2]
    The 2024 Policy Statement applies to your project because NIH approved your grant on 7/1/2024, and
    “obligations generally should be determined by reference to the law in effect when the grants were made.”[3]
    The 2024 Policy Statement “includes the terms and conditions of NIH grants and cooperative agreements
    and is incorporated by reference in all NIH grant and cooperative agreement awards.[4]” According to the
    Policy Statement, “NIH may … terminate the grant in whole or in part as outlined in 2 CFR Part 200.340.
    [5]” At the time your grant was issued, 2 C.F.R. § 200.340(a)(2) permitted termination “[b]y the Federal
    awarding agency or pass-through entity, to the greatest extent authorized by law, if an award no longer
    effectuates the program goals or agency priorities.”
    This award no longer effectuates agency priorities. Research programs based on gender identity are often
    unscientific, have little identifiable return on investment, and do nothing to enhance the health of many
    Americans. Many such studies ignore, rather than seriously examine, biological realities. It is the policy of
    NIH not to prioritize these research programs.
    Although “NIH generally will suspend (rather than immediately terminate) a grant and allow the recipient an
    opportunity to take appropriate corrective action before NIH makes a termination decision,”[6] no corrective

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    action is possible here. The premise of this award is incompatible with agency priorities, and no modification
    of the project could align the project with agency priorities.
    Costs resulting from financial obligations incurred after termination are not allowable.[7] Nothing in this
    notice excuses either NIH or you from complying with the closeout obligations imposed by 2 C.F.R. §§
    75.381-75.390. NIH will provide any information required by the Federal Funding Accountability and
    Transparency Act or the Office of Management and Budget’s regulations to USAspending.gov.[8]
    Administrative Appeal
    You may object and provide information and documentation challenging this termination.[9] NIH has
    established a first-level grant appeal procedure that must be exhausted before you may file an appeal with the
    Departmental Appeals Board.[10]
    You must submit a request for such review to Dr. Matt Memoli no later than 30 days after the written
    notification of the determination is received, except that if you show good cause why an extension of time
    should be granted, Dr. Memoli may grant an extension of time.[11]
    The request for review must include a copy of the adverse determination, must identify the issue(s) in
    dispute, and must contain a full statement of your position with respect to such issue(s) and the pertinent
    facts and reasons in support of your position. In addition to the required written statement, you shall provide
    copies of any documents supporting your claim.[12]


    Sincerely,




    Michelle G. Bulls, on behalf of Theresa Jarosik, Chief Grants Management Officer, NIMH
    Director, Office of Policy for Extramural Research Administration
    Office of Extramural Research




    [1] https://grants.nih.gov/grants/policy/nihgps/nihgps.pdf.

    [2] 2 C.F.R. § 200.341(a); 45 C.F.R. § 75.373

    [3] Bennett v. New Jersey, 470 U.S. 632, 638 (1985).

    [4] NIH Grants Policy Statement at IIA-1.

    [5] Id. at IIA-155.

    [6] NIH Grants Policy Statement at IIA-156.

    [7] See 2 C.F.R. § 200.343 (2024).

    [8] 2 C.F.R. § 200.341(c); 45 C.F.R. § 75.373(c)

    [9] See 45 C.F.R. § 75.374.

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    [10] See 42 C.F.R. Part 50, Subpart D

    [11] 11 Id. § 50.406(a)

    [12] 12 Id. § 50.406(b)




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                                                                                   Grant TerminationPage     20 of 117
                                                                                                    Notification



                                                                                                Jennifer Sneed <jsneed@sdsu.edu>



  Fwd: [EXT] Grant Termination Notification
  1 message

  SDSURF Awards <sdsurfawards@sdsu.edu>                                                                  Fri, Mar 21, 2025 at 10:49 AM
  To: SDSURF Federal Impact Responses <sdsurf_federalimpacts@sdsu.edu>



    ---------- Forwarded message ---------
    From: Bulls, Michelle G. (NIH/OD) [E] <michelle.bulls@nih.gov>
    Date: Fri, Mar 21, 2025 at 9:29 AM
    Subject: [EXT] Grant Termination Notification
    To: awards@foundation.sdsu.edu <awards@foundation.sdsu.edu>




    3/21/2025
    Torok, Steve
    San Diego State University
    awards@foundation.sdsu.edu


    Dear Torok, Steve:
    Effective with the date of this letter, funding for Project Number 5F31DA059345-02 is hereby terminated
    pursuant to the Fiscal Year 2024 National Institutes of Health (“NIH”) Grants Policy Statement,[1] and 2
    C.F.R. § 200.340(a)(2). This letter constitutes a notice of termination.[2]
    The 2024 Policy Statement applies to your project because NIH approved your grant on 8/17/2024, and
    “obligations generally should be determined by reference to the law in effect when the grants were made.”[3]
    The 2024 Policy Statement “includes the terms and conditions of NIH grants and cooperative agreements
    and is incorporated by reference in all NIH grant and cooperative agreement awards.[4]” According to the
    Policy Statement, “NIH may … terminate the grant in whole or in part as outlined in 2 CFR Part 200.340.
    [5]” At the time your grant was issued, 2 C.F.R. § 200.340(a)(2) permitted termination “[b]y the Federal
    awarding agency or pass-through entity, to the greatest extent authorized by law, if an award no longer
    effectuates the program goals or agency priorities.”
    This award no longer effectuates agency priorities. Research programs based primarily on artificial and non-
    scientific categories, including amorphous equity objectives, are antithetical to the scientific inquiry, do
    nothing to expand our knowledge of living systems, provide low returns on investment, and ultimately do not
    enhance health, lengthen life, or reduce illness. Worse, so-called diversity, equity, and inclusion (“DEI”)
    studies are often used to support unlawful discrimination on the basis of race and other protected
https://mail.google.com/mail/u/0/?ik=8bd30ad4d5&view=pt&search=all&permthid=thread-f:1827226949122487063%7Cmsg-f:1827226949122487063…   1/3
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                                                                                                    Notification

    characteristics, which harms the health of Americans. Therefore, it is the policy of NIH not to prioritize such
    research programs.
    Although “NIH generally will suspend (rather than immediately terminate) a grant and allow the recipient an
    opportunity to take appropriate corrective action before NIH makes a termination decision,”[6] no corrective
    action is possible here. The premise of this award is incompatible with agency priorities, and no modification
    of the project could align the project with agency priorities.
    Costs resulting from financial obligations incurred after termination are not allowable.[7] Nothing in this
    notice excuses either NIH or you from complying with the closeout obligations imposed by 2 C.F.R. §§
    75.381-75.390. NIH will provide any information required by the Federal Funding Accountability and
    Transparency Act or the Office of Management and Budget’s regulations to USAspending.gov.[8]
    Administrative Appeal
    You may object and provide information and documentation challenging this termination.[9] NIH has
    established a first-level grant appeal procedure that must be exhausted before you may file an appeal with the
    Departmental Appeals Board.[10]
    You must submit a request for such review to Dr. Matt Memoli no later than 30 days after the written
    notification of the determination is received, except that if you show good cause why an extension of time
    should be granted, Dr. Memoli may grant an extension of time.[11]
    The request for review must include a copy of the adverse determination, must identify the issue(s) in
    dispute, and must contain a full statement of your position with respect to such issue(s) and the pertinent
    facts and reasons in support of your position. In addition to the required written statement, you shall provide
    copies of any documents supporting your claim.[12]


    Sincerely,




    Michelle G. Bulls, on behalf of Pamela Fleming, Chief Grants Management Officer, NIDA
    Director, Office of Policy for Extramural Research Administration
    Office of Extramural Research


    [1] https://grants.nih.gov/grants/policy/nihgps/nihgps.pdf.

    [2] 2 C.F.R. § 200.341(a); 45 C.F.R. § 75.373

    [3] Bennett v. New Jersey, 470 U.S. 632, 638 (1985).
    [4] NIH Grants Policy Statement at IIA-1.

    [5] Id. at IIA-155.

    [6] NIH Grants Policy Statement at IIA-156.

    [7] See 2 C.F.R. § 200.343 (2024).

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                                                                                                    Notification
    [8] 2 C.F.R. § 200.341(c); 45 C.F.R. § 75.373(c)

    [9] See 45 C.F.R. § 75.374.

    [10] See 42 C.F.R. Part 50, Subpart D

    [11] 11 Id. § 50.406(a)
    [12] 12 Id. § 50.406(b)




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                         EXHIBIT 20
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                                                                                   Grant TerminationPage     24 of 117
                                                                                                    Notification



                                                                                                Jennifer Sneed <jsneed@sdsu.edu>



  Fwd: [EXT] Grant Termination Notification
  1 message

  SDSURF Awards <sdsurfawards@sdsu.edu>                                                                  Fri, Mar 21, 2025 at 10:50 AM
  To: SDSURF Federal Impact Responses <sdsurf_federalimpacts@sdsu.edu>



    ---------- Forwarded message ---------
    From: Bulls, Michelle G. (NIH/OD) [E] <michelle.bulls@nih.gov>
    Date: Fri, Mar 21, 2025 at 9:33 AM
    Subject: [EXT] Grant Termination Notification
    To: sdsurfawards@sdsu.edu <sdsurfawards@sdsu.edu>




    3/21/2025
    Steve Torok
    San Diego State University
    sdsurfawards@sdsu.edu


    Dear Steve Torok:
    Effective with the date of this letter, funding for Project Number 5R33MH120236-04 is hereby terminated
    pursuant to the Fiscal Year 2024 National Institutes of Health (“NIH”) Grants Policy Statement,[1] and 2
    C.F.R. § 200.340(a)(2). This letter constitutes a notice of termination.[2]
    The 2024 Policy Statement applies to your project because NIH approved your grant on 4/1/2024, and
    “obligations generally should be determined by reference to the law in effect when the grants were made.”[3]
    The 2024 Policy Statement “includes the terms and conditions of NIH grants and cooperative agreements
    and is incorporated by reference in all NIH grant and cooperative agreement awards.[4]” According to the
    Policy Statement, “NIH may … terminate the grant in whole or in part as outlined in 2 CFR Part 200.340.
    [5]” At the time your grant was issued, 2 C.F.R. § 200.340(a)(2) permitted termination “[b]y the Federal
    awarding agency or pass-through entity, to the greatest extent authorized by law, if an award no longer
    effectuates the program goals or agency priorities.”
    This award no longer effectuates agency priorities. Research programs based primarily on artificial and non-
    scientific categories, including amorphous equity objectives, are antithetical to the scientific inquiry, do
    nothing to expand our knowledge of living systems, provide low returns on investment, and ultimately do not
    enhance health, lengthen life, or reduce illness. Worse, so-called diversity, equity, and inclusion (“DEI”)
    studies are often used to support unlawful discrimination on the basis of race and other protected
https://mail.google.com/mail/u/0/?ik=8bd30ad4d5&view=pt&search=all&permthid=thread-f:1827226961309744666%7Cmsg-f:1827226961309744666…   1/3
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    characteristics, which harms the health of Americans. Therefore, it is the policy of NIH not to prioritize such
    research programs.
    Although “NIH generally will suspend (rather than immediately terminate) a grant and allow the recipient an
    opportunity to take appropriate corrective action before NIH makes a termination decision,”[6] no corrective
    action is possible here. The premise of this award is incompatible with agency priorities, and no modification
    of the project could align the project with agency priorities.
    Costs resulting from financial obligations incurred after termination are not allowable.[7] Nothing in this
    notice excuses either NIH or you from complying with the closeout obligations imposed by 2 C.F.R. §§
    75.381-75.390. NIH will provide any information required by the Federal Funding Accountability and
    Transparency Act or the Office of Management and Budget’s regulations to USAspending.gov.[8]
    Administrative Appeal
    You may object and provide information and documentation challenging this termination.[9] NIH has
    established a first-level grant appeal procedure that must be exhausted before you may file an appeal with the
    Departmental Appeals Board.[10]
    You must submit a request for such review to Dr. Matt Memoli no later than 30 days after the written
    notification of the determination is received, except that if you show good cause why an extension of time
    should be granted, Dr. Memoli may grant an extension of time.[11]
    The request for review must include a copy of the adverse determination, must identify the issue(s) in
    dispute, and must contain a full statement of your position with respect to such issue(s) and the pertinent
    facts and reasons in support of your position. In addition to the required written statement, you shall provide
    copies of any documents supporting your claim.[12]


    Sincerely,




    Michelle G. Bulls, on behalf of Theresa Jarosik, Chief Grants Management Officer, NIMH
    Director, Office of Policy for Extramural Research Administration
    Office of Extramural Research


    [1] https://grants.nih.gov/grants/policy/nihgps/nihgps.pdf.

    [2] 2 C.F.R. § 200.341(a); 45 C.F.R. § 75.373

    [3] Bennett v. New Jersey, 470 U.S. 632, 638 (1985).
    [4] NIH Grants Policy Statement at IIA-1.

    [5] Id. at IIA-155.

    [6] NIH Grants Policy Statement at IIA-156.

    [7] See 2 C.F.R. § 200.343 (2024).

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    [8] 2 C.F.R. § 200.341(c); 45 C.F.R. § 75.373(c)

    [9] See 45 C.F.R. § 75.374.

    [10] See 42 C.F.R. Part 50, Subpart D

    [11] 11 Id. § 50.406(a)
    [12] 12 Id. § 50.406(b)




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---------- Forwarded message ---------
From: Renee Lechner <rlechner@sdsu.edu>
Date: Fri, Mar 21, 2025 at 1:40 PM
Subject: Fwd: [EXT] SGM SOL Grant Termination Notice
To: SDSURF Federal Impact Responses <sdsurf_federalimpacts@sdsu.edu>


A termination notice for Dr. Gallos's award from the University of North Carolina Chapel
Hill (fund 5A038E) was received this afternoon.  
_______________________


Renée Lechner
Interim Senior Director
Sponsored Research Administration
Sponsored Research Contracting & Compliance
rlechner@sdsu.edu
O: 619-594-4349

SDSU Research Foundation | foundation.sdsu.edu
5250 Campanile Drive | San Diego, CA 92182-1934
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Service - Collaboration - Innovation - Diversity – Integrity




Your feedback counts! Did I help you today? Please take this brief service survey.   




---------- Forwarded message ---------
From: Desmon Fields <dfields2@sdsu.edu>
Date: Fri, Mar 21, 2025 at 1:29 PM
Subject: Fwd: [EXT] SGM SOL Grant Termination Notice
To: Renee Lechner <rlechner@sdsu.edu>

Hi Renee,

We have just received this termination notice in regards to Dr. Gallo's
award with UNC Chapel Hill Fund #5A038E.

Thank you,

Desmon Fields | Analyst
Sponsored Research Contracting and Compliance
  Case 1:25-cv-10814-BEM                 Document 77-15   Filed 04/14/25   Page 29 of 117


dfields2@sdsu.edu

SDSU Research Foundation | foundation.sdsu.edu
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Your feedback counts! Did I help you today? Please take this brief service
survey. If you have any questions, please feel free to reach out to
the Service Desk Team.


---------- Forwarded message ---------
From: Groner, Lexie <lexie_groner@unc.edu>
Date: Fri, Mar 21, 2025 at 1:20 PM
Subject: [EXT] SGM SOL Grant Termination Notice
To: Linda Gallo <lgallo@sdsu.edu>
Cc: dfields2@sdsu.edu <dfields2@sdsu.edu>, Ana Talavera <atalavera@sdsu.edu>,
Perreira, Krista <krista_perreira@med.unc.edu>


Hello,

We wanted to let you know that we received a termination letter for the grant R01-HL149778
 “Cardiovascular Health of Sexual and Gender Minorities in the Hispanic Community Health
Study/Study of Latinos (SGM HCHS/SOL)” with a stop date of 3/20/2025. We will not be able
to accept any additional charges for work performed. Krista will be in touch to discuss
when she has more information.

Thank you and please let us know if you have any questions.

Lexie

Lexie Groner
Research Administrator
Carolina Population Center
The University of North Carolina at Chapel Hill
lexie_groner@unc.edu
She/her
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03    /2025
R. David Paul
UNIV OF NORTH CAROLINA CHAPEL HILL
resadminosr@unc.edu


Dear R. David Paul:
Effective with the date of this letter, funding for Project Number 5R01HL149778-05 is hereby
terminated pursuant to the Fiscal Year 2024 National Institutes of Health (“NIH”) Grants Policy
Statement,1 and 2 C.F.R. § 200.340(a)(2). This letter constitutes a notice of termination.2
The 2024 Policy Statement applies to your project because NIH approved your grant on
03/01/2024, and “obligations generally should be determined by reference to the law in effect
when the grants were made.”3
The 2024 Policy Statement “includes the terms and conditions of NIH grants and cooperative
agreements and is incorporated by reference in all NIH grant and cooperative agreement
awards.4” According to the Policy Statement, “NIH may … terminate the grant in whole or in
part as outlined in 2 CFR Part 200.340.5” At the time your grant was issued, 2 C.F.R. §
200.340(a)(2) permitted termination “[b]y the Federal awarding agency or pass-through entity, to
the greatest extent authorized by law, if an award no longer effectuates the program goals or
agency priorities.”
This award no longer effectuates agency priorities. Research programs based on gender identity
are often unscientific, have little identifiable return on investment, and do nothing to enhance the
health of many Americans. Many such studies ignore, rather than seriously examine, biological
realities. It is the policy of NIH not to prioritize these research programs. Although “NIH
generally will suspend (rather than immediately terminate) a grant and allow the recipient an
opportunity to take appropriate corrective action before NIH makes a termination decision,”6 no
corrective action is possible here. The premise of this award is incompatible with agency
priorities, and no modification of the project could align the project with agency priorities.

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Costs resulting from financial obligations incurred after termination are not allowable.7 Nothing
in this notice excuses either NIH or you from complying with the closeout obligations imposed
by 2 C.F.R. §§ 75.381-75.390. NIH will provide any information required by the Federal
Funding Accountability and Transparency Act or the Office of Management and Budget’s
regulations to USAspending.gov.8
Administrative Appeal
You may object and provide information and documentation challenging this termination.9 NIH
has established a first-level grant appeal procedure that must be exhausted before you may file an
appeal with the Departmental Appeals Board.10
You must submit a request for such review to Dr. Matt Memoli no later than 30 days after the
written notification of the determination is received, except that if you show good cause why an
extension of time should be granted, Dr. Memoli may grant an extension of time.11
The request for review must include a copy of the adverse determination, must identify the
issue(s) in dispute, and must contain a full statement of your position with respect to such
issue(s) and the pertinent facts and reasons in support of your position. In addition to the required
written statement, you shall provide copies of any documents supporting your claim.12


Sincerely,




Michelle G. Bulls, on behalf of Anthony Agresti, Chief Grants Management Officer, National
Heart, Lung, and Blood Institute
Director, Office of Policy for Extramural Research Administration
Office of Extramural Research




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     11
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     12



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                         EXHIBIT 22
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Raman Paul

From:                Susan Pelton
Sent:                Friday, March 21, 2025 10:01 AM
To:                  Raman Paul; Rain Lee; Jocelyn B Tolentino; Kari Wong; Jenny Chau
Cc:                  Joshua David Calder
Subject:             FW: Grant Termination Notification




From: Joshua David Calder <jdcalder@sfsu.edu>
Sent: Friday, March 21, 2025 9:47 AM
To: Susan Pelton <spelton@sfsu.edu>
Subject: Fw: Grant Termination Notification

It must be Friday ... Here is a termination letter for Emma's U grant effective today ... Not sure if anybody else got it?

From: Bulls, Michelle G. (NIH/OD) [E] <michelle.bulls@nih.gov>
Sent: Friday, March 21, 2025 9:31 AM
To: Joshua David Calder <jdcalder@sfsu.edu>
Subject: Grant Termination Notification




3/21/2025
Joshua Calder
San Francisco State University
jdcalder@sfsu.edu


Dear Joshua Calder:
Effective with the date of this letter, funding for Project Number 5U01MH136574-02 is hereby terminated
pursuant to the Fiscal Year 2024 National Institutes of Health (“NIH”) Grants Policy Statement,[1] and 2 C.F.R.
§ 200.340(a)(2). This letter constitutes a notice of termination.[2]
The 2024 Policy Statement applies to your project because NIH approved your grant on 8/1/2024, and
“obligations generally should be determined by reference to the law in effect when the grants were made.”[3]
The 2024 Policy Statement “includes the terms and conditions of NIH grants and cooperative agreements and is
incorporated by reference in all NIH grant and cooperative agreement awards.[4]” According to the Policy
Statement, “NIH may … terminate the grant in whole or in part as outlined in 2 CFR Part 200.340.[5]” At the
time your grant was issued, 2 C.F.R. § 200.340(a)(2) permitted termination “[b]y the Federal awarding agency

                                                              1
                Case 1:25-cv-10814-BEM                Document 77-15   Filed 04/14/25   Page 34 of 117

or pass-through entity, to the greatest extent authorized by law, if an award no longer effectuates the program
goals or agency priorities.”
This award no longer effectuates agency priorities. Research programs based primarily on artificial and non-
scientific categories, including amorphous equity objectives, are antithetical to the scientific inquiry, do nothing
to expand our knowledge of living systems, provide low returns on investment, and ultimately do not enhance
health, lengthen life, or reduce illness. Worse, so-called diversity, equity, and inclusion (“DEI”) studies are
often used to support unlawful discrimination on the basis of race and other protected characteristics, which
harms the health of Americans. Therefore, it is the policy of NIH not to prioritize such research programs.
Although “NIH generally will suspend (rather than immediately terminate) a grant and allow the recipient an
opportunity to take appropriate corrective action before NIH makes a termination decision,”[6] no corrective
action is possible here. The premise of this award is incompatible with agency priorities, and no modification of
the project could align the project with agency priorities.
Costs resulting from financial obligations incurred after termination are not allowable.[7] Nothing in this notice
excuses either NIH or you from complying with the closeout obligations imposed by 2 C.F.R. §§ 75.381-
75.390. NIH will provide any information required by the Federal Funding Accountability and Transparency
Act or the Office of Management and Budget’s regulations to USAspending.gov.[8]
Administrative Appeal
You may object and provide information and documentation challenging this termination.[9] NIH has
established a first-level grant appeal procedure that must be exhausted before you may file an appeal with the
Departmental Appeals Board.[10]
You must submit a request for such review to Dr. Matt Memoli no later than 30 days after the written
notification of the determination is received, except that if you show good cause why an extension of time
should be granted, Dr. Memoli may grant an extension of time.[11]
The request for review must include a copy of the adverse determination, must identify the issue(s) in dispute,
and must contain a full statement of your position with respect to such issue(s) and the pertinent facts and
reasons in support of your position. In addition to the required written statement, you shall provide copies of
any documents supporting your claim.[12]


Sincerely,




Michelle G. Bulls, on behalf of Theresa Jarosik, Chief Grants Management Officer, NIMH
Director, Office of Policy for Extramural Research Administration
Office of Extramural Research



[1]
      https://grants.nih.gov/grants/policy/nihgps/nihgps.pdf.

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[2]
    2 C.F.R. § 200.341(a); 45 C.F.R. § 75.373
[3]
    Bennett v. New Jersey, 470 U.S. 632, 638 (1985).
[4]
    NIH Grants Policy Statement at IIA‐1.
[5]
    Id. at IIA‐155.
[6]
    NIH Grants Policy Statement at IIA‐156.
[7]
    See 2 C.F.R. § 200.343 (2024).
[8]
    2 C.F.R. § 200.341(c); 45 C.F.R. § 75.373(c)
[9]
    See 45 C.F.R. § 75.374.
[10]
     See 42 C.F.R. Part 50, Subpart D
[11]
     11 Id. § 50.406(a)
[12]
     12 Id. § 50.406(b)




                                                                3
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                         EXHIBIT 23
      Case 1:25-cv-10814-BEM        Document 77-15      Filed 04/14/25    Page 37 of 117




From: Danielian, Anna <anna.danielian@csun.edu>
Date: Tuesday, March 25, 2025 at 8:39 AM
To: Manzueta, Charlene Rosenda <charlene.manzueta@csun.edu>
Subject: FW: Notice of Termination: Subaward 253405666 with UW-Milwaukee


From: Jeremy T Miner <minerj@uwm.edu>
Date: Monday, March 24, 2025 at 7:25 PM
To: Capous-Desyllas, Moshoula <moshoula@csun.edu>, Danielian, Anna
<anna.danielian@csun.edu>, Quevedo, Sabrina Jessica
<sabrina.quevedo@csun.edu>, RSP Awards <awards@csun.edu>
Cc: Priya Nambisan <nambisap@uwm.edu>, UWM Office of Sponsored Programs -
Sub-Awards <or-osp-subawards@uwm.edu>, Carla Durand <durandc@uwm.edu>,
Kristian M OConnor <krisocon@uwm.edu>, Monica L Wendel <wendel@uwm.edu>,
Lance Weinhardt <weinhard@uwm.edu>, Michael D Laiosa <laiosa@uwm.edu>,
Jennifer B Herzog <herzogj@uwm.edu>
Subject: Notice of Termination: Subaward 253405666 with UW-Milwaukee

Dr. Desyllas and colleagues,

The University of Wisconsin-Milwaukee has received official notice of termination for grant
1R01MH135498-01A1, titled “Using digital photovoice to explore the relationships between
social media content and suicidality among transgender adolescents.” As a result, we are

                                                                                              2 of 3
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unable to proceed with the subaward agreement (253405666). The effective date of the
termination was March 21, 2025.

We appreciate your collaboration with UW-Milwaukee.

Jeremy

***************************
Jeremy T. Miner
Associate Director of Pre-Award
Office of Sponsored Programs
University of Wisconsin-Milwaukee
414-251-9255
minerj@uwm.edu
***************************




                                                                                        3 of 3
Firefox                                                            https://outlook.office365.com/mail/grant-notice@uwm.edu/inbox/id/...
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               Outlook


          Fw: Grant Termination Notification

          From UWM Office of Sponsored Programs - Grant Notifications <grant-notice@uwm.edu>
          Date Mon 3/24/2025 7:47 AM
          To    Office of Research Support <or-support@uwm.edu>




          From: Bulls, Michelle G. (NIH/OD) [E] <michelle.bulls@nih.gov>
          Sent: Friday, March 21, 2025 11:35 AM
          To: UWM Oﬃce of Sponsored Programs - Grant Notiﬁcations <grant-notice@uwm.edu>
          Subject: Grant Termination Notiﬁcation




          3/21/2025
          Jeremy Miner
          University Of Wisconsin Milwaukee
          GRANT-NOTICE@UWM.EDU

          Dear Jeremy Miner:
          Effective with the date of this letter, funding for Project Number 1R01MH135498-01A1 is hereby
          terminated pursuant to the Fiscal Year 2024 National Institutes of Health (“NIH”) Grants Policy
                    [1]                                                                            [2]
          Statement, and 2 C.F.R. § 200.340(a)(2). This letter constitutes a notice of termination.
          The 2024 Policy Statement applies to your project because NIH approved your grant on 9/5/2024, and
          “obligations generally should be determined by reference to the law in effect when the grants were
                 [3]
          made.”
          The 2024 Policy Statement “includes the terms and conditions of NIH grants and cooperative
                                                                                                           [4]
          agreements and is incorporated by reference in all NIH grant and cooperative agreement awards. ”
          According to the Policy Statement, “NIH may … terminate the grant in whole or in part as outlined in
                               [5]
          2 CFR Part 200.340. ” At the time your grant was issued, 2 C.F.R. § 200.340(a)(2) permitted
          termination “[b]y the Federal awarding agency or pass-through entity, to the greatest extent authorized
          by law, if an award no longer effectuates the program goals or agency priorities.”
          This award no longer effectuates agency priorities. Research programs based on gender identity are
          often unscientific, have little identifiable return on investment, and do nothing to enhance the health of


1 of 3                                                                                                             3/24/2025, 8:34 PM
Firefox                                                                   https://outlook.office365.com/mail/grant-notice@uwm.edu/inbox/id/...
                   Case 1:25-cv-10814-BEM                   Document 77-15    Filed 04/14/25        Page 40 of 117
          many Americans. Many such studies ignore, rather than seriously examine, biological realities. It is
          the policy of NIH not to prioritize these research programs.
          Although “NIH generally will suspend (rather than immediately terminate) a grant and allow the
          recipient an opportunity to take appropriate corrective action before NIH makes a termination
                     [6]
          decision,” no corrective action is possible here. The premise of this award is incompatible with
          agency priorities, and no modification of the project could align the project with agency priorities.
                                                                                                  [7]
          Costs resulting from financial obligations incurred after termination are not allowable. Nothing in
          this notice excuses either NIH or you from complying with the closeout obligations imposed by 2
          C.F.R. §§ 75.381-75.390. NIH will provide any information required by the Federal Funding
          Accountability and Transparency Act or the Office of Management and Budget’s regulations to
                             [8]
          USAspending.gov.
          Administrative Appeal
                                                                                                    [9]
          You may object and provide information and documentation challenging this termination. NIH has
          established a first-level grant appeal procedure that must be exhausted before you may file an appeal
                                                   [10]
          with the Departmental Appeals Board.
          You must submit a request for such review to Dr. Matt Memoli no later than 30 days after the written
          notification of the determination is received, except that if you show good cause why an extension of
                                                                                [11]
          time should be granted, Dr. Memoli may grant an extension of time.
          The request for review must include a copy of the adverse determination, must identify the issue(s) in
          dispute, and must contain a full statement of your position with respect to such issue(s) and the
          pertinent facts and reasons in support of your position. In addition to the required written statement,
                                                                              [12]
          you shall provide copies of any documents supporting your claim.


          Sincerely,




          Michelle G. Bulls, on behalf of Theresa Jarosik, Chief Grants Management Officer, NIMH
          Director, Office of Policy for Extramural Research Administration
          Office of Extramural Research


          [1]
                https://grants.nih.gov/grants/policy/nihgps/nihgps.pdf.
          [2]
                2 C.F.R. § 200.341(a); 45 C.F.R. § 75.373
          [3]
                Benne v. New Jersey, 470 U.S. 632, 638 (1985).
          [4]
                NIH Grants Policy Statement at IIA-1.
          [5]
                Id. at IIA-155.




2 of 3                                                                                                                    3/24/2025, 8:34 PM
Firefox                                                                 https://outlook.office365.com/mail/grant-notice@uwm.edu/inbox/id/...
                   Case 1:25-cv-10814-BEM                  Document 77-15   Filed 04/14/25        Page 41 of 117
          [6]
                NIH Grants Policy Statement at IIA-156.
          [7]
                See 2 C.F.R. § 200.343 (2024).
          [8]
                2 C.F.R. § 200.341(c); 45 C.F.R. § 75.373(c)
          [9]
             See 45 C.F.R. § 75.374.
          [10]
               See 42 C.F.R. Part 50, Subpart D
          [11]
                 11 Id. § 50.406(a)
          [12]
                 12 Id. § 50.406(b)




3 of 3                                                                                                                  3/24/2025, 8:34 PM
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                         EXHIBIT 24
      Case 1:25-cv-10814-BEM        Document 77-15      Filed 04/14/25    Page 43 of 117




From: Bulls, Michelle G. (NIH/OD) [E] <michelle.bulls@nih.gov>
Date: Monday, March 24, 2025 at 12:53 PM
To: Manzueta, Charlene Rosenda <charlene.manzueta@csun.edu>
Subject: Grant Termination Notification




3/24/2025
Ms. Manzueta, Charlene Rosenda
California State University Northridge
charlene.manzueta@csun.edu

Dear Ms. Manzueta, Charlene Rosenda:
Effective with the date of this letter, funding for Project Number 5U01MD017434-02 is hereby
terminated pursuant to the Fiscal Year 2023 National Institutes of Health (“NIH”) Grants Policy
Statement,[1] and 2 C.F.R. § 200.340(a)(2). This letter constitutes a notice of termination.[2]
The 2023 Policy Statement applies to your project because NIH approved your grant on
12/1/2022, and “obligations generally should be determined by reference to the law in effect
when the grants were made.”[3]
The 2023 Policy Statement “includes the terms and conditions of NIH grants and cooperative
agreements and is incorporated by reference in all NIH grant and cooperative agreement awards.
[4]” According to the Policy Statement, “NIH may … terminate the grant in whole or in part as
outlined in 2 CFR Part 200.340.[5]” At the time your grant was issued, 2 C.F.R. § 200.340(a)(2)
permitted termination “[b]y the Federal awarding agency or pass-through entity, to the greatest
extent authorized by law, if an award no longer effectuates the program goals or agency
priorities.”
                                                                                                  2 of 4
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The end of the pandemic provides cause to terminate COVID-related grant funds. These grant
funds were issued for a limited purpose: to ameliorate the effects of the pandemic. Now that the
pandemic is over, the grant funds are no longer necessary.
Although “NIH generally will suspend (rather than immediately terminate) a grant and allow the
recipient an opportunity to take appropriate corrective action before NIH makes a termination
decision,”[6] no corrective action is possible here. The premise of this award is incompatible
with agency priorities, and no modification of the project could align the project with agency
priorities.

Costs resulting from financial obligations incurred after termination are not allowable.[7]
Nothing in this notice excuses either NIH or you from complying with the closeout obligations
imposed by 2 C.F.R. §§ 75.381-75.390. NIH will provide any information required by the
Federal Funding Accountability and Transparency Act or the Office of Management and
Budget’s regulations to USAspending.gov.[8]
Administrative Appeal

You may object and provide information and documentation challenging this termination.[9]
NIH has established a first-level grant appeal procedure that must be exhausted before you may
file an appeal with the Departmental Appeals Board.[10]
You must submit a request for such review to Dr. Matt Memoli no later than 30 days after the
written notification of the determination is received, except that if you show good cause why an
extension of time should be granted, Dr. Memoli may grant an extension of time.[11]
The request for review must include a copy of the adverse determination, must identify the
issue(s) in dispute, and must contain a full statement of your position with respect to such
issue(s) and the pertinent facts and reasons in support of your position. In addition to the required
written statement, you shall provide copies of any documents supporting your claim.[12]


Sincerely,




Michelle G. Bulls, on behalf of Priscilla Grant, Chief Grants Management Officer, NIMHD
Director, Office of Policy for Extramural Research Administration
Office of Extramural Research

[1] https://grants.nih.gov/grants/policy/nihgps/nihgps.pdf.
[2] 2 C.F.R. § 200.341(a); 45 C.F.R. § 75.373
[3] Bennett v. New Jersey, 470 U.S. 632, 638 (1985).
[4] NIH Grants Policy Statement at IIA-1.


                                                                                                        3 of 4
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                                    Wednesday, March 26, 2025 at 13:12:31 Pacific Daylight Time

Subject:          FW: Grant Termination Notification - Subaward A22-0039-S002
Date:             Tuesday, March 25, 2025 at 7:19:23 PM Pacific Daylight Time
From:             Manzueta, Charlene Rosenda
To:               kimmy@sipacares.org
CC:               Bautista Lopez, Erika, Galvez, Joseph A, Kwan, Patchareeya P,
                  Rillorta, Marie, Slavik, Grace Pauline
Attachments: image001.jpg, image002.png, image003.png
Dear Executive Director Kimmy Maniquis:
We regret to inform you that California State University, Northridge, has received an official
termination notice for grant 5U01MD017434-02. Below is the email notice regarding this matter.
As a result of this notice, we are unable to proceed with the subaward agreement A22-0039-
S002. The effective date of termination is March 24, 2025. We will inform you of any updates as
we seek legal guidance regarding this notice.
Due to this notice, please halt any expenditures beyond March 24, 2025, as they will be deemed
unallowable. Additionally, we kindly request that your organization submit any unpaid invoices
promptly so we can process them as soon as possible.
We appreciate your partnership with Dr. Patty Kwan and our institution. Please forward this
notice to the appropriate contacts at your organization. If you have any questions, do not
hesitate to reach out.
Thank you for your time and attention,
Charlene
Charlene Rosenda Manzueta, EdD, MA, CRA
Managing Director, Research and Sponsored Programs, AOR | IO
California State University, Northridge
18111 Nordhoff Street (Valera Hall 275), Northridge, CA 91330-8232
(Direct Tel) 818.677.5008 | (Office Tel) 818.677.2901 | (Fax) 818.677.4691
| Charlene.Manzueta@csun.edu




--
From: Bulls, Michelle G. (NIH/OD) [E] <michelle.bulls@nih.gov>
Date: Monday, March 24, 2025 at 12:53 PM
To: Manzueta, Charlene Rosenda <charlene.manzueta@csun.edu>
Subject: Grant Termination Notification




                                                                                                  1 of 3
      Case 1:25-cv-10814-BEM        Document 77-15       Filed 04/14/25    Page 46 of 117




3/24/2025
Ms. Manzueta, Charlene Rosenda
California State University Northridge
charlene.manzueta@csun.edu

Dear Ms. Manzueta, Charlene Rosenda:
Effective with the date of this letter, funding for Project Number 5U01MD017434-02 is hereby
terminated pursuant to the Fiscal Year 2023 National Institutes of Health (“NIH”) Grants Policy
Statement,[1] and 2 C.F.R. § 200.340(a)(2). This letter constitutes a notice of termination.[2]
The 2023 Policy Statement applies to your project because NIH approved your grant on
12/1/2022, and “obligations generally should be determined by reference to the law in effect
when the grants were made.”[3]
The 2023 Policy Statement “includes the terms and conditions of NIH grants and cooperative
agreements and is incorporated by reference in all NIH grant and cooperative agreement awards.
[4]” According to the Policy Statement, “NIH may … terminate the grant in whole or in part as
outlined in 2 CFR Part 200.340.[5]” At the time your grant was issued, 2 C.F.R. § 200.340(a)(2)
permitted termination “[b]y the Federal awarding agency or pass-through entity, to the greatest
extent authorized by law, if an award no longer effectuates the program goals or agency
priorities.”
The end of the pandemic provides cause to terminate COVID-related grant funds. These grant
funds were issued for a limited purpose: to ameliorate the effects of the pandemic. Now that the
pandemic is over, the grant funds are no longer necessary.
Although “NIH generally will suspend (rather than immediately terminate) a grant and allow the
recipient an opportunity to take appropriate corrective action before NIH makes a termination
decision,”[6] no corrective action is possible here. The premise of this award is incompatible
with agency priorities, and no modification of the project could align the project with agency
priorities.

Costs resulting from financial obligations incurred after termination are not allowable.[7]
Nothing in this notice excuses either NIH or you from complying with the closeout obligations
imposed by 2 C.F.R. §§ 75.381-75.390. NIH will provide any information required by the
Federal Funding Accountability and Transparency Act or the Office of Management and
Budget’s regulations to USAspending.gov.[8]
Administrative Appeal

You may object and provide information and documentation challenging this termination.[9]
NIH has established a first-level grant appeal procedure that must be exhausted before you may
file an appeal with the Departmental Appeals Board.[10]
You must submit a request for such review to Dr. Matt Memoli no later than 30 days after the
written notification of the determination is received, except that if you show good cause why an
extension of time should be granted, Dr. Memoli may grant an extension of time.[11]
The request for review must include a copy of the adverse determination, must identify the
                                                                                                   2 of 3
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issue(s) in dispute, and must contain a full statement of your position with respect to such
issue(s) and the pertinent facts and reasons in support of your position. In addition to the required
written statement, you shall provide copies of any documents supporting your claim.[12]


Sincerely,




Michelle G. Bulls, on behalf of Priscilla Grant, Chief Grants Management Officer, NIMHD
Director, Office of Policy for Extramural Research Administration
Office of Extramural Research

[1] https://grants.nih.gov/grants/policy/nihgps/nihgps.pdf.
[2] 2 C.F.R. § 200.341(a); 45 C.F.R. § 75.373
[3] Bennett v. New Jersey, 470 U.S. 632, 638 (1985).
[4] NIH Grants Policy Statement at IIA-1.
[5] Id. at IIA-155.
[6] NIH Grants Policy Statement at IIA-156.
[7] See 2 C.F.R. § 200.343 (2024).
[8] 2 C.F.R. § 200.341(c); 45 C.F.R. § 75.373(c)
[9] See 45 C.F.R. § 75.374.
[10] See 42 C.F.R. Part 50, Subpart D
[11] 11 Id. § 50.406(a)
[12] 12 Id. § 50.406(b)




                                                                                                        3 of 3
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                                    Wednesday, March 26, 2025 at 13:10:46 Pacific Daylight Time

Subject:          FW: Grant Termination Notification - Subaward A22-0039-S004
Date:             Tuesday, March 25, 2025 at 7:34:42 PM Pacific Daylight Time
From:             Manzueta, Charlene Rosenda
To:               chancee@thaicdc.org
CC:               Bautista Lopez, Erika, Galvez, Joseph A, Kwan, Patchareeya P,
                  Slavik, Grace Pauline, Rillorta, Marie
Attachments: image001.jpg, image002.png, image003.png
Dear Executive Director Chancee Martorell:
We regret to inform you that California State University, Northridge, has received an official
termination notice for grant 5U01MD017434-02. Below is the email notice regarding this matter.
As a result of this notice, we are unable to proceed with the subaward agreement A22-0039-
S004. The effective date of termination is March 24, 2025. We will inform you of any updates as
we seek legal guidance regarding this notice.
Due to this notice, please halt any expenditures beyond March 24, 2025, as they will be deemed
unallowable. Additionally, we kindly request that your organization submit any unpaid invoices
promptly so we can process them as soon as possible.
We appreciate your partnership with Dr. Patty Kwan and our institution. Please forward this
notice to the appropriate contacts at your organization. If you have any questions, do not
hesitate to reach out.
Thank you for your time and attention,
Charlene
Charlene Rosenda Manzueta, EdD, MA, CRA
Managing Director, Research and Sponsored Programs, AOR | IO
California State University, Northridge
18111 Nordhoff Street (Valera Hall 275), Northridge, CA 91330-8232
(Direct Tel) 818.677.5008 | (Office Tel) 818.677.2901 | (Fax) 818.677.4691
| Charlene.Manzueta@csun.edu




--
From: Bulls, Michelle G. (NIH/OD) [E] <michelle.bulls@nih.gov>
Date: Monday, March 24, 2025 at 12:53 PM
To: Manzueta, Charlene Rosenda <charlene.manzueta@csun.edu>
Subject: Grant Termination Notification




                                                                                                  1 of 3
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3/24/2025
Ms. Manzueta, Charlene Rosenda
California State University Northridge
charlene.manzueta@csun.edu

Dear Ms. Manzueta, Charlene Rosenda:
Effective with the date of this letter, funding for Project Number 5U01MD017434-02 is hereby
terminated pursuant to the Fiscal Year 2023 National Institutes of Health (“NIH”) Grants Policy
Statement,[1] and 2 C.F.R. § 200.340(a)(2). This letter constitutes a notice of termination.[2]
The 2023 Policy Statement applies to your project because NIH approved your grant on
12/1/2022, and “obligations generally should be determined by reference to the law in effect
when the grants were made.”[3]
The 2023 Policy Statement “includes the terms and conditions of NIH grants and cooperative
agreements and is incorporated by reference in all NIH grant and cooperative agreement awards.
[4]” According to the Policy Statement, “NIH may … terminate the grant in whole or in part as
outlined in 2 CFR Part 200.340.[5]” At the time your grant was issued, 2 C.F.R. § 200.340(a)(2)
permitted termination “[b]y the Federal awarding agency or pass-through entity, to the greatest
extent authorized by law, if an award no longer effectuates the program goals or agency
priorities.”
The end of the pandemic provides cause to terminate COVID-related grant funds. These grant
funds were issued for a limited purpose: to ameliorate the effects of the pandemic. Now that the
pandemic is over, the grant funds are no longer necessary.
Although “NIH generally will suspend (rather than immediately terminate) a grant and allow the
recipient an opportunity to take appropriate corrective action before NIH makes a termination
decision,”[6] no corrective action is possible here. The premise of this award is incompatible
with agency priorities, and no modification of the project could align the project with agency
priorities.

Costs resulting from financial obligations incurred after termination are not allowable.[7]
Nothing in this notice excuses either NIH or you from complying with the closeout obligations
imposed by 2 C.F.R. §§ 75.381-75.390. NIH will provide any information required by the
Federal Funding Accountability and Transparency Act or the Office of Management and
Budget’s regulations to USAspending.gov.[8]
Administrative Appeal

You may object and provide information and documentation challenging this termination.[9]
NIH has established a first-level grant appeal procedure that must be exhausted before you may
file an appeal with the Departmental Appeals Board.[10]
You must submit a request for such review to Dr. Matt Memoli no later than 30 days after the
written notification of the determination is received, except that if you show good cause why an
extension of time should be granted, Dr. Memoli may grant an extension of time.[11]
The request for review must include a copy of the adverse determination, must identify the
                                                                                                   2 of 3
       Case 1:25-cv-10814-BEM            Document 77-15       Filed 04/14/25   Page 50 of 117


issue(s) in dispute, and must contain a full statement of your position with respect to such
issue(s) and the pertinent facts and reasons in support of your position. In addition to the required
written statement, you shall provide copies of any documents supporting your claim.[12]


Sincerely,




Michelle G. Bulls, on behalf of Priscilla Grant, Chief Grants Management Officer, NIMHD
Director, Office of Policy for Extramural Research Administration
Office of Extramural Research

[1] https://grants.nih.gov/grants/policy/nihgps/nihgps.pdf.
[2] 2 C.F.R. § 200.341(a); 45 C.F.R. § 75.373
[3] Bennett v. New Jersey, 470 U.S. 632, 638 (1985).
[4] NIH Grants Policy Statement at IIA-1.
[5] Id. at IIA-155.
[6] NIH Grants Policy Statement at IIA-156.
[7] See 2 C.F.R. § 200.343 (2024).
[8] 2 C.F.R. § 200.341(c); 45 C.F.R. § 75.373(c)
[9] See 45 C.F.R. § 75.374.
[10] See 42 C.F.R. Part 50, Subpart D
[11] 11 Id. § 50.406(a)
[12] 12 Id. § 50.406(b)




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                         EXHIBIT 25
  Case 1:25-cv-10814-BEM               Document 77-15              Filed 04/14/25           Page 52 of 117


From:           Jennifer Sneed on behalf of SDSURF Awards
To:             SDSURF Federal Impact Responses
Subject:        Fwd: [EXT] Important Notice Regarding Subawards under NIH Prime Award UM2HD111102
Date:           Wednesday, March 26, 2025 7:04:48 AM
Attachments:    Outlook-A close-up.jfif
                5UM2HD111102-03-Noa.pdf


Good morning. I do not think this was forwarded yesterday. This is for Dr. Horvath's
subawards, funds- 5B104C and 5B547B. We did receive an update about this from Dr.
Horvath yesterday and have already started our internal processes.

Yesterday we received the termination notices, this is now the matching NOA. We have not
received the subaward end date amendments/termination notice directly yet.

Thank you, Jenny

---------- Forwarded message ---------
From: Aras Aziz <asaziz@fsu.edu>
Date: Tue, Mar 25, 2025 at 1:55 PM
Subject: [EXT] Important Notice Regarding Subawards under NIH Prime Award
UM2HD111102
To: Angie Eaton <aeaton2@fsu.edu>, Lisa Hightow-Weidman <lhightowweidman@fsu.edu>
Cc: Rose Driber <rdriber@fsu.edu>


Florida State University received the attached termination from the NIH for prime award
UM2HD111102. Our records show that your institution has received a subaward from FSU
under this prime award. The effective date of the termination is 3/21/2025. While we
determine our next steps, we ask for your cooperation and assistance. Additional information
will be forthcoming as soon as possible.



 A close-up of a logo                              Aras Aziz, MA, CRA
                                                   Subcontract Officer III
                                                   Florida State University
                                                   (850) 644-8654
                                                   (850) 491-5799
                                                   asaziz@fsu.edu
    From: Bulls,
           CaseMichelle  G. (NIH/OD) [E] <michelle.bulls@nih.gov>
                  1:25-cv-10814-BEM         Document 77-15 Filed 04/14/25              Page 53 of 117
    Sent: Friday, March 21, 2025 12:30:10 PM
    To: SRA Pre-Award General Mailbox <SRA-PRE@fsu.edu>
    Subject: Grant Termination Notification




3/21/2025
Stacey Patterson
Florida State University
SRA-PRE@fsu.edu


Dear Stacey Patterson:
Effective with the date of this letter, funding for Project Number 5UM2HD111102-03 is hereby terminated
pursuant to the Fiscal Year 2025 National Institutes of Health (“NIH”) Grants Policy Statement,[1] and 2 C.F.R.
§ 200.340(a)(2). This letter constitutes a notice of termination.[2]
The 2025 Policy Statement applies to your project because NIH approved your grant on 12/1/2024, and
“obligations generally should be determined by reference to the law in effect when the grants were made.”[3]
The 2025 Policy Statement “includes the terms and conditions of NIH grants and cooperative agreements and is
incorporated by reference in all NIH grant and cooperative agreement awards.[4]” According to the Policy
Statement, “NIH may … terminate the grant in whole or in part as outlined in 2 CFR Part 200.340.[5]” At the
time your grant was issued, 2 C.F.R. § 200.340(a)(2) permitted termination “[b]y the Federal awarding agency
or pass-through entity, to the greatest extent authorized by law, if an award no longer effectuates the program
goals or agency priorities.”
This award no longer effectuates agency priorities. Research programs based primarily on artificial and non-
scientific categories, including amorphous equity objectives, are antithetical to the scientific inquiry, do nothing
to expand our knowledge of living systems, provide low returns on investment, and ultimately do not enhance
health, lengthen life, or reduce illness. Worse, so-called diversity, equity, and inclusion (“DEI”) studies are
often used to support unlawful discrimination on the basis of race and other protected characteristics, which
harms the health of Americans. Therefore, it is the policy of NIH not to prioritize such research programs.
Although “NIH generally will suspend (rather than immediately terminate) a grant and allow the recipient an
opportunity to take appropriate corrective action before NIH makes a termination decision,”[6] no corrective
action is possible here. The premise of this award is incompatible with agency priorities, and no modification of
the project could align the project with agency priorities.
Costs resulting from financial obligations incurred after termination are not allowable.[7] Nothing in this notice
excuses either NIH or you from complying with the closeout obligations imposed by 2 C.F.R. §§
75.381-75.390. NIH will provide any information required by the Federal Funding Accountability and
Transparency Act or the Office of Management and Budget’s regulations to USAspending.gov.[8]




                                                         2
             Case 1:25-cv-10814-BEM                 Document 77-15   Filed 04/14/25   Page 54 of 117

Administrative Appeal
You may object and provide information and documentation challenging this termination.[9] NIH has
established a first-level grant appeal procedure that must be exhausted before you may file an appeal with the
Departmental Appeals Board.[10]
You must submit a request for such review to Dr. Matt Memoli no later than 30 days after the written
notification of the determination is received, except that if you show good cause why an extension of time
should be granted, Dr. Memoli may grant an extension of time.[11]
The request for review must include a copy of the adverse determination, must identify the issue(s) in dispute,
and must contain a full statement of your position with respect to such issue(s) and the pertinent facts and
reasons in support of your position. In addition to the required written statement, you shall provide copies of
any documents supporting your claim.[12]
Sincerely,




Michelle G. Bulls, on behalf of Margaret Young, Chief Grants Management Officer, NICHD
Director, Office of Policy for Extramural Research Administration
Office of Extramural Research

[1]
    https://grants.nih.gov/grants/policy/nihgps/nihgps.pdf.
[2]
    2 C.F.R. § 200.341(a); 45 C.F.R. § 75.373
[3]
    Bennett v. New Jersey, 470 U.S. 632, 638 (1985).
[4]
    NIH Grants Policy Statement at IIA-1.
[5]
    Id. at IIA-155.
[6]
    NIH Grants Policy Statement at IIA-156.
[7]
    See 2 C.F.R. § 200.343 (2024).
[8]
    2 C.F.R. § 200.341(c); 45 C.F.R. § 75.373(c)
[9]
    See 45 C.F.R. § 75.374.
[10]
     See 42 C.F.R. Part 50, Subpart D
[11]
     11 Id. § 50.406(a)
[12]
     12 Id. § 50.406(b)




                                                              3
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                         EXHIBIT 26
  Case 1:25-cv-10814-BEM               Document 77-15              Filed 04/14/25           Page 56 of 117


From:           Jennifer Sneed on behalf of SDSURF Awards
To:             SDSURF Federal Impact Responses
Subject:        Fwd: [EXT] Important Notice Regarding Subawards under NIH Prime Award UM2HD111102
Date:           Wednesday, March 26, 2025 7:04:48 AM
Attachments:    Outlook-A close-up.jfif
                5UM2HD111102-03-Noa.pdf


Good morning. I do not think this was forwarded yesterday. This is for Dr. Horvath's
subawards, funds- 5B104C and 5B547B. We did receive an update about this from Dr.
Horvath yesterday and have already started our internal processes.

Yesterday we received the termination notices, this is now the matching NOA. We have not
received the subaward end date amendments/termination notice directly yet.

Thank you, Jenny

---------- Forwarded message ---------
From: Aras Aziz <asaziz@fsu.edu>
Date: Tue, Mar 25, 2025 at 1:55 PM
Subject: [EXT] Important Notice Regarding Subawards under NIH Prime Award
UM2HD111102
To: Angie Eaton <aeaton2@fsu.edu>, Lisa Hightow-Weidman <lhightowweidman@fsu.edu>
Cc: Rose Driber <rdriber@fsu.edu>


Florida State University received the attached termination from the NIH for prime award
UM2HD111102. Our records show that your institution has received a subaward from FSU
under this prime award. The effective date of the termination is 3/21/2025. While we
determine our next steps, we ask for your cooperation and assistance. Additional information
will be forthcoming as soon as possible.



 A close-up of a logo                              Aras Aziz, MA, CRA
                                                   Subcontract Officer III
                                                   Florida State University
                                                   (850) 644-8654
                                                   (850) 491-5799
                                                   asaziz@fsu.edu
    From: Bulls,
           CaseMichelle  G. (NIH/OD) [E] <michelle.bulls@nih.gov>
                  1:25-cv-10814-BEM         Document 77-15 Filed 04/14/25              Page 57 of 117
    Sent: Friday, March 21, 2025 12:30:10 PM
    To: SRA Pre-Award General Mailbox <SRA-PRE@fsu.edu>
    Subject: Grant Termination Notification




3/21/2025
Stacey Patterson
Florida State University
SRA-PRE@fsu.edu


Dear Stacey Patterson:
Effective with the date of this letter, funding for Project Number 5UM2HD111102-03 is hereby terminated
pursuant to the Fiscal Year 2025 National Institutes of Health (“NIH”) Grants Policy Statement,[1] and 2 C.F.R.
§ 200.340(a)(2). This letter constitutes a notice of termination.[2]
The 2025 Policy Statement applies to your project because NIH approved your grant on 12/1/2024, and
“obligations generally should be determined by reference to the law in effect when the grants were made.”[3]
The 2025 Policy Statement “includes the terms and conditions of NIH grants and cooperative agreements and is
incorporated by reference in all NIH grant and cooperative agreement awards.[4]” According to the Policy
Statement, “NIH may … terminate the grant in whole or in part as outlined in 2 CFR Part 200.340.[5]” At the
time your grant was issued, 2 C.F.R. § 200.340(a)(2) permitted termination “[b]y the Federal awarding agency
or pass-through entity, to the greatest extent authorized by law, if an award no longer effectuates the program
goals or agency priorities.”
This award no longer effectuates agency priorities. Research programs based primarily on artificial and non-
scientific categories, including amorphous equity objectives, are antithetical to the scientific inquiry, do nothing
to expand our knowledge of living systems, provide low returns on investment, and ultimately do not enhance
health, lengthen life, or reduce illness. Worse, so-called diversity, equity, and inclusion (“DEI”) studies are
often used to support unlawful discrimination on the basis of race and other protected characteristics, which
harms the health of Americans. Therefore, it is the policy of NIH not to prioritize such research programs.
Although “NIH generally will suspend (rather than immediately terminate) a grant and allow the recipient an
opportunity to take appropriate corrective action before NIH makes a termination decision,”[6] no corrective
action is possible here. The premise of this award is incompatible with agency priorities, and no modification of
the project could align the project with agency priorities.
Costs resulting from financial obligations incurred after termination are not allowable.[7] Nothing in this notice
excuses either NIH or you from complying with the closeout obligations imposed by 2 C.F.R. §§
75.381-75.390. NIH will provide any information required by the Federal Funding Accountability and
Transparency Act or the Office of Management and Budget’s regulations to USAspending.gov.[8]




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             Case 1:25-cv-10814-BEM                 Document 77-15   Filed 04/14/25   Page 58 of 117

Administrative Appeal
You may object and provide information and documentation challenging this termination.[9] NIH has
established a first-level grant appeal procedure that must be exhausted before you may file an appeal with the
Departmental Appeals Board.[10]
You must submit a request for such review to Dr. Matt Memoli no later than 30 days after the written
notification of the determination is received, except that if you show good cause why an extension of time
should be granted, Dr. Memoli may grant an extension of time.[11]
The request for review must include a copy of the adverse determination, must identify the issue(s) in dispute,
and must contain a full statement of your position with respect to such issue(s) and the pertinent facts and
reasons in support of your position. In addition to the required written statement, you shall provide copies of
any documents supporting your claim.[12]
Sincerely,




Michelle G. Bulls, on behalf of Margaret Young, Chief Grants Management Officer, NICHD
Director, Office of Policy for Extramural Research Administration
Office of Extramural Research

[1]
    https://grants.nih.gov/grants/policy/nihgps/nihgps.pdf.
[2]
    2 C.F.R. § 200.341(a); 45 C.F.R. § 75.373
[3]
    Bennett v. New Jersey, 470 U.S. 632, 638 (1985).
[4]
    NIH Grants Policy Statement at IIA-1.
[5]
    Id. at IIA-155.
[6]
    NIH Grants Policy Statement at IIA-156.
[7]
    See 2 C.F.R. § 200.343 (2024).
[8]
    2 C.F.R. § 200.341(c); 45 C.F.R. § 75.373(c)
[9]
    See 45 C.F.R. § 75.374.
[10]
     See 42 C.F.R. Part 50, Subpart D
[11]
     11 Id. § 50.406(a)
[12]
     12 Id. § 50.406(b)




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                         EXHIBIT 27
3/21/25, 6:20 PM Case 1:25-cv-10814-BEM            Document
                            San Diego State University               77-15 Action
                                                       Mail - Fwd: Immediate   Filed  04/14/25
                                                                                  Required - Termination Page     60MH133710-01A1
                                                                                                         Letter 1R61 of 117


                                                                                                Jennifer Sneed <jsneed@sdsu.edu>



  Fwd: Immediate Action Required - Termination Letter 1R61 MH133710-01A1
  1 message

  Aaron J. Blashill <ajblashill@sdsu.edu>                                               Fri, Mar 21, 2025 at 10:57 AM
  To: sdsurf_federalimpacts@sdsu.edu, Michele Goetz <mgoetz@sdsu.edu>, Vanessa Malcarne <VMALCARNE@sdsu.edu>

    Hi Michele--our sub award from Auburn, the R61 eating disorder treatment student was just cancelled--please see below
    and attached. I'm currently in Dallas, as my son was just born here a couple of days ago--I would like to speak to you
    today if possible, given the impact on Arjan, our fulltime coordinator (Nathaniel Holmes) and one of my PhD students (Em
    Chakkour) who are all funded on this grant. My cell is 857-998-3398. I'm including Vanessa Malcarne on this message as
    JDP director.

    Thank you,
    Aaron

    Aaron J. Blashill, Ph.D.
    Professor, Department of Psychology
    Director, BISH Lab
    San Diego State University
    SDSU/UCSD Joint Doctoral Program in Clinical Psychology
    6363 Alvarado Court, Suite 101
    San Diego, CA 92120
    (T) 619-594-2245
    https://bishlab.sdsu.edu
    Pronouns: He/Him/His (What's this?)



    ---------- Forwarded message ---------
    From: Tiffany Brown <tiffanybrown@auburn.edu>
    Date: Fri, Mar 21, 2025 at 12:49 PM
    Subject: Fwd: Immediate Action Required - Termination Letter 1R61 MH133710-01A1
    To: Aaron J. Blashill <ajblashill@sdsu.edu>



    Sent from my iPhone

    Begin forwarded message:


            From: Sponsor Programs <OSPADMN@auburn.edu>
            Date: March 21, 2025 at 9:21:21 AM CDT
            To: Tiffany Brown <tiffanybrown@auburn.edu>
            Cc: Cynthia Bowling <bowlicj@auburn.edu>, Savannah Mehren <shm0015@auburn.edu>, Konnie Pace
            <kdp0038@auburn.edu>, Ginger Phillabaum <phillgp@auburn.edu>, Gina Bailey <bailerh@auburn.edu>,
            Sheilah Wiley <ssw0044@auburn.edu>
            Subject: FW: Immediate Action Required - Termination Letter 1R61 MH133710-01A1




            Good morning Dr. Brown,


            As I believe you may have already been notified, the attached letter provides the
            termination of Award 1R16 MH133710-01A1 (AU Fund 201432) from NIH. The
            termination date is as of March 21, 2025. Please ensure all expenditures are ceased at

https://mail.google.com/mail/u/0/?ik=8bd30ad4d5&view=pt&search=all&permthid=thread-f:1827227399528327349%7Cmsg-f:1827227399528327349…   1/2
3/21/25, 6:20 PM Case 1:25-cv-10814-BEM            Document
                            San Diego State University               77-15 Action
                                                       Mail - Fwd: Immediate   Filed  04/14/25
                                                                                  Required - Termination Page     61MH133710-01A1
                                                                                                         Letter 1R61 of 117
            this point and that all charges prior to the termination date are in place for invoicing
            purposes. I have also copied the subaward team so that a modification can be issued to
            both San Diego State and Yale University.


            While not unexpected, I am very sorry to have to share this news with you. If I can be
            of any assistance, please do not hesitate to reach out.


            Warm regards,
            Tony



            From: Ta, Kristin (NIH/OD) [E] <kristin.ta@nih.gov> On Behalf Of Bulls, Michelle G. (NIH/OD) [E]
            Sent: Friday, March 21, 2025 6:19 AM
            To: Sponsor Programs <OSPADMN@auburn.edu>
            Cc: Bulls, Michelle G. (NIH/OD) [E] <michelle.bulls@nih.gov>; Ta, Kristin (NIH/OD) [E] <kristin.ta@nih.gov>; Jarosik,
            Theresa (NIH/NIMH) [E] <theresa.jarosik@nih.gov>
            Subject: [EXT] Immediate Action Required - Termination Letter 1R61 MH133710-01A1




                                         CAUTION: Email Originated Outside of Auburn.


            Please see attached.

          TerminationLetter_1R61MH133710-01A1_03212025.pdf
          256K




https://mail.google.com/mail/u/0/?ik=8bd30ad4d5&view=pt&search=all&permthid=thread-f:1827227399528327349%7Cmsg-f:1827227399528327349…   2/2
      Case 1:25-cv-10814-BEM                Document 77-15        Filed 04/14/25   Page 62 of 117




March 21, 2025
James Weyhenmeyer
Auburn University
ospadmn@auburn.edu


Dear James Weyhenmeyer:
Effective with the date of this letter, funding for Project Number 1R61 MH133710-01A1 is
hereby terminated pursuant to the Fiscal Year 2024 National Institutes of Health (“NIH”) Grants
Policy Statement,1 and 2 C.F.R. § 200.340(a)(2). This letter constitutes a notice of termination.2
The 2024 Policy Statement applies to your project because NIH approved your grant on August
1, 2024, and “obligations generally should be determined by reference to the law in effect when
the grants were made.”3
The 2024 Policy Statement “includes the terms and conditions of NIH grants and cooperative
agreements and is incorporated by reference in all NIH grant and cooperative agreement
awards.4” According to the Policy Statement, “NIH may … terminate the grant in whole or in
part as outlined in 2 CFR Part 200.340.5” At the time your grant was issued, 2 C.F.R. §
200.340(a)(2) permitted termination “[b]y the Federal awarding agency or pass-through entity, to
the greatest extent authorized by law, if an award no longer effectuates the program goals or
agency priorities.”
This award no longer effectuates agency priorities. Research programs based primarily on
artificial and non-scientific categories, including amorphous equity objectives, are antithetical to
the scientific inquiry, do nothing to expand our knowledge of living systems, provide low returns
on investment, and ultimately do not enhance health, lengthen life, or reduce illness. Worse, so-
called diversity, equity, and inclusion (“DEI”) studies are often used to support unlawful
discrimination on the basis of race and other protected characteristics, which harms the health of
Americans. Therefore, it is the policy of NIH not to prioritize such research programs.



1
    https://grants.nih.gov/grants/policy/nihgps/nihgps.pdf.
2
    2 C.F.R. § 200.341(a); 45 C.F.R. § 75.373
3
    Benne v. New Jersey, 470 U.S. 632, 638 (1985).
4
  2024 Policy Statement at IIA-1.
5
  Id. at IIA-155.

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Although “NIH generally will suspend (rather than immediately terminate) a grant and allow the
recipient an opportunity to take appropriate corrective action before NIH makes a termination
decision,”6 no corrective action is possible here. The premise of this award is incompatible with
agency priorities, and no modification of the project could align the project with agency
priorities.
Costs resulting from financial obligations incurred after termination are not allowable.7 Nothing
in this notice excuses either NIH or you from complying with the closeout obligations imposed
by 2 C.F.R. §§ 75.381-75.390. NIH will provide any information required by the Federal
Funding Accountability and Transparency Act or the Office of Management and Budget’s
regulations to USAspending.gov.8
Administrative Appeal
You may object and provide information and documentation challenging this termination.9 NIH
has established a first-level grant appeal procedure that must be exhausted before you may file an
appeal with the Departmental Appeals Board.10
You must submit a request for such review to Dr. Matt Memoli no later than 30 days after the
written notification of the determination is received, except that if you show good cause why an
extension of time should be granted, Dr. Memoli may grant an extension of time.11
The request for review must include a copy of the adverse determination, must identify the
issue(s) in dispute, and must contain a full statement of your position with respect to such
issue(s) and the pertinent facts and reasons in support of your position. In addition to the required
written statement, you shall provide copies of any documents supporting your claim.12


Sincerely,




Michelle G. Bulls, on behalf of Theresa Jarosik, Chief Grants Management Officer, National
Institute of Mental Health
Director, Office of Policy for Extramural Research Administration
Office of Extramural Research


6
  2024 Policy Statement at IIA-156.
7
  See 2 C.F.R. § 200.343 (2024).
8
  2 C.F.R. § 200.341(c); 45 C.F.R. § 75.373(c)
9
  See 45 C.F.R. § 75.374.
10
   See 42 C.F.R. Part 50, Subpart D
11
     11 Id. § 50.406(a)
12
     12 Id. § 50.406(b)



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                         EXHIBIT 28
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                                                                                     Office of Grants and Contracts
                                                                                     Research Administration
                                                                                     13001 East 17th Place
                                                                                     Aurora, CO 80045




San Diego State University Research Foundation
Attn: Sandra M. Nordahl | sdsurfawards@sdsu.edu

Re: Termination of Subaward number: FY24.1259.002

Project: Proud to Quit (P2Q): A Person-centered mobile technology intervention for smoking
cessation among transgender adults

Prime #: 5R34DA058191-02

On March 21, 2025, National Institutes of Health issued the attached Notice to Terminate this
project in full as of March 21, 2025 (“Termination Date”). Please cease all work on this project
immediately. No new costs can be incurred on the subaward on or after the Termination Date.

Please communicate the above instructions to any lower-tier subrecipients you may have on
this award.

Thank you,




Liz Causey
Assistant Director of Contracts
Office of Grants & Contracts
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                                                                                    Office of Grants and Contracts
                                                                                    Research Administration
                                                                                    13001 East 17th Place
                                                                                    Aurora, CO 80045




3/21/2025
Alex Franz
University Of Colorado Denver
ALEX.FRANZ@CUANSCHUTZ.EDU

Dear Alex Franz:
Effective with the date of this letter, funding for Project Number 5R34DA058191-02 is
hereby terminated pursuant to the Fiscal Year 2024 National Institutes of Health (“NIH”)
Grants Policy Statement,[1] and 2 C.F.R. § 200.340(a)(2). This letter constitutes a notice of
termination.[2]
The 2024 Policy Statement applies to your project because NIH approved your grant on
9/1/2024, and “obligations generally should be determined by reference to the law in effect
when the grants were made.”[3]
The 2024 Policy Statement “includes the terms and conditions of NIH grants and cooperative
agreements and is incorporated by reference in all NIH grant and cooperative agreement
awards.[4]” According to the Policy Statement, “NIH may … terminate the grant in whole or
in part as outlined in 2 CFR Part 200.340.[5]” At the time your grant was issued, 2 C.F.R. §
200.340(a)(2) permitted termination “[b]y the Federal awarding agency or pass-through
entity, to the greatest extent authorized by law, if an award no longer effectuates the program
goals or agency priorities.”
This award no longer effectuates agency priorities. Research programs based on gender
identity are often unscientific, have little identifiable return on investment, and do nothing to
enhance the health of many Americans. Many such studies ignore, rather than seriously
examine, biological realities. It is the policy of NIH not to prioritize these research
programs.
Although “NIH generally will suspend (rather than immediately terminate) a grant and allow
the recipient an opportunity to take appropriate corrective action before NIH makes a
termination decision,”[6] no corrective action is possible here. The premise of this award is
incompatible with agency priorities, and no modification of the project could align the
project with agency priorities.
Costs resulting from financial obligations incurred after termination are not allowable.[7]
Nothing in this notice excuses either NIH or you from complying with the closeout
obligations imposed by 2 C.F.R. §§ 75.381-75.390. NIH will provide any information
required by the Federal Funding Accountability and Transparency Act or the Office of
Management and Budget’s regulations to USAspending.gov.[8]
Administrative Appeal
 Case 1:25-cv-10814-BEM             Document 77-15          Filed 04/14/25      Page 67 of 117

                                                                                       Office of Grants and Contracts
                                                                                       Research Administration
You may object and provide information and documentation challenging this                            th
                                                                                    13001 East 17 Place
termination.[9] NIH has established a first-level grant appeal procedure that       Aurora, CO 80045

must be exhausted before you may file an appeal with the Departmental
Appeals Board.[10]
You must submit a request for such review to Dr. Matt Memoli no later than 30 days after
the written notification of the determination is received, except that if you show good cause
why an extension of time should be granted, Dr. Memoli may grant an extension of time.[11]
The request for review must include a copy of the adverse determination, must identify the
issue(s) in dispute, and must contain a full statement of your position with respect to such
issue(s) and the pertinent facts and reasons in support of your position. In addition to the
required written statement, you shall provide copies of any documents supporting your
claim.[12]

Sincerely,




Michelle G. Bulls, on behalf of Pamela Fleming, Chief Grants Management Officer, NIDA
Director, Office of Policy for Extramural Research Administration
Office of Extramural Research
Case 1:25-cv-10814-BEM   Document 77-15   Filed 04/14/25   Page 68 of 117




                         EXHIBIT 29
   Case 1:25-cv-10814-BEM          Document 77-15        Filed 04/14/25     Page 69 of 117




                                                                             SPONSORED PROJECTS OFFICE
                                                                             University of California, San Diego
                                                                             9500 Gilman Drive #0934
                                                                             La Jolla, CA 92093-0934




March 20, 2025

To: San Diego State University Research Foundation

Subject: Termination of Subaward No: 703792 (“Subaward”)



Dear San Diego State University Research Foundation colleagues,
We regret to inform you that the Regents of the University of California, San Diego
(“UCSD”) received an official notification of termination from NATIONAL INSTITUTE OF
MENTAL HEALTH (NIMH) (“Agency”) for the NEXUS: A novel social network approach to
study the effects of intersectional stigma on HIV prevention among Latino MSM
(5R01MH123282), effective 3/20/2025.

Accordingly, you are hereby notified that the Subaward is terminated. All work must stop
immediately, including termination of all subcontracts and activities. Please follow close-out
procedures specified in the Subaward, including Agency requirements. UCSD will only be able
to reimburse Subrecipient for costs reimbursed by Agency.
Please confirm receipt of this message on behalf of your organization.

It has been a privilege collaborating with you, and we look forward to the opportunity to work
together again in the future.


Sincerely



Sheila K. Paul
Manager- Outgoing Subaward Team
      Case 1:25-cv-10814-BEM                Document 77-15        Filed 04/14/25   Page 70 of 117




03/20/2025
Nina Quach
UNIVERSITY OF CALIFORNIA, SAN DIEGO
nihawards@ucsd.edu


Dear Nina Quach:
Effective with the date of this letter, funding for Project Number 5R01MH123282-05 is hereby
terminated pursuant to the Fiscal Year 2024 National Institutes of Health (“NIH”) Grants Policy
Statement,1 and 2 C.F.R. § 200.340(a)(2). This letter constitutes a notice of termination.2
The 2024 Policy Statement applies to your project because NIH approved your grant on
05/01/2024, and “obligations generally should be determined by reference to the law in effect
when the grants were made.”3
The 2024 Policy Statement “includes the terms and conditions of NIH grants and cooperative
agreements and is incorporated by reference in all NIH grant and cooperative agreement
awards.4” According to the Policy Statement, “NIH may … terminate the grant in whole or in
part as outlined in 2 CFR Part 200.340.5” At the time your grant was issued, 2 C.F.R. §
200.340(a)(2) permitted termination “[b]y the Federal awarding agency or pass-through entity, to
the greatest extent authorized by law, if an award no longer effectuates the program goals or
agency priorities.”
This award no longer effectuates agency priorities. Research programs based primarily on
artificial and non-scientific categories, including amorphous equity objectives, are antithetical to
the scientific inquiry, do nothing to expand our knowledge of living systems, provide low returns
on investment, and ultimately do not enhance health, lengthen life, or reduce illness. Worse, so-
called diversity, equity, and inclusion (“DEI”) studies are often used to support unlawful
discrimination on the basis of race and other protected characteristics, which harms the health of
Americans. Therefore, it is the policy of NIH not to prioritize such research programs. Although
“NIH generally will suspend (rather than immediately terminate) a grant and allow the recipient


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    https://grants.nih.gov/grants/policy/nihgps/nihgps.pdf.
2
    2 C.F.R. § 200.341(a); 45 C.F.R. § 75.373
3
    Bennett v. New Jersey, 470 U.S. 632, 638 (1985).
4
  2024 Policy Statement at IIA-1.
5
  Id. at IIA-155.

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      Case 1:25-cv-10814-BEM                 Document 77-15   Filed 04/14/25   Page 71 of 117




an opportunity to take appropriate corrective action before NIH makes a termination decision,”6
no corrective action is possible here. The premise of this award is incompatible with agency
priorities, and no modification of the project could align the project with agency priorities.
Costs resulting from financial obligations incurred after termination are not allowable.7 Nothing
in this notice excuses either NIH or you from complying with the closeout obligations imposed
by 2 C.F.R. §§ 75.381-75.390. NIH will provide any information required by the Federal
Funding Accountability and Transparency Act or the Office of Management and Budget’s
regulations to USAspending.gov.8
Administrative Appeal
You may object and provide information and documentation challenging this termination.9 NIH
has established a first-level grant appeal procedure that must be exhausted before you may file an
appeal with the Departmental Appeals Board.10
You must submit a request for such review to Dr. Matt Memoli no later than 30 days after the
written notification of the determination is received, except that if you show good cause why an
extension of time should be granted, Dr. Memoli may grant an extension of time.11
The request for review must include a copy of the adverse determination, must identify the
issue(s) in dispute, and must contain a full statement of your position with respect to such
issue(s) and the pertinent facts and reasons in support of your position. In addition to the required
written statement, you shall provide copies of any documents supporting your claim.12


Sincerely,




Michelle G. Bulls, on behalf of Theresa Jarosik, Chief Grants Management Officer,
National Institute of Mental Health
Director, Office of Policy for Extramural Research Administration
Office of Extramural Research




6
  2024 Policy Statement at IIA-156.
7
  See 2 C.F.R. § 200.343 (2024).
8
  2 C.F.R. § 200.341(c); 45 C.F.R. § 75.373(c)
9
  See 45 C.F.R. § 75.374.
10
   See 42 C.F.R. Part 50, Subpart D
11
     11 Id. § 50.406(a)
12
     12 Id. § 50.406(b)



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                         EXHIBIT 30
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March 12, 2025
Rick Gulizia
San Diego State University
sdsurfawards@sdsu.edu

Dear Rick Gulizia:

Funding for Project Number 5R01MH133821-02 is hereby terminated pursuant to the 2024
National Institutes of Health (“NIH”) Grants Policy Statement, 1 and 2 C.F.R. § 200.340(a)(2).
This letter constitutes a notice of termination.2
The 2024 Policy Statement applies to your project because NIH approved your grant on May 1,
2024, and “obligations generally should be determined by reference to the law in effect when the
grants were made.” 3
The 2024 Policy Statement “includes the terms and conditions of NIH grants and cooperative
agreements and is incorporated by reference in all NIH grant and cooperative agreement
awards. 4” According to the Policy Statement, “NIH may … terminate the grant in whole or in
part as outlined in 2 CFR Part 200.340. 5” At the time your grant was issued, 2 C.F.R. §
200.340(a)(2) permitted termination “[b]y the Federal awarding agency or pass-through entity, to
the greatest extent authorized by law, if an award no longer effectuates the program goals or
agency priorities.”
This award no longer effectuates agency priorities. Research programs based on gender identity
are often unscientific, have little identifiable return on investment, and do nothing to enhance the
health of many Americans. Many such studies ignore, rather than seriously examine, biological
realities. It is the policy of NIH not to prioritize these research programs. NIH is obligated to
carefully steward grant awards to ensure taxpayer dollars are used in ways that benefit the
American people and improve their quality of life. Your project does not satisfy these criteria.
Although “NIH generally will suspend (rather than immediately terminate) a grant and allow the
recipient an opportunity to take appropriate corrective action before NIH makes a termination


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                Jersey
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      Case 1:25-cv-10814-BEM         Document 77-15        Filed 04/14/25      Page 74 of 117




decision,” 6 no corrective action is possible here. The premise of this award is incompatible with
agency priorities, and no modification of the project could align the project with agency
priorities.
Costs resulting from financial obligations incurred after termination are not allowable.7 Nothing
in this notice excuses either NIH or you from complying with the closeout obligations imposed
by 2 C.F.R. §§ 75.381-75.390. NIH will provide any information required by the Federal
Funding Accountability and Transparency Act or the Office of Management and Budget’s
regulations to USAspending.gov.8
Administrative Appeal
You may object and provide information and documentation challenging this termination.9 NIH
has established a first-level grant appeal procedure that must be exhausted before you may file an
appeal with the Departmental Appeals Board.10
You must submit a request for such review to Dr. Matt Memoli no later than 30 days after the
written notification of the determination is received, except that if you show good cause why an
extension of time should be granted, Dr. Memoli may grant an extension of time.11
The request for review must include a copy of the adverse determination, must identify the
issue(s) in dispute, and must contain a full statement of your position with respect to such
issue(s) and the pertinent facts and reasons in support of your position. In addition to the required
written statement, you shall provide copies of any documents supporting your claim. 12


Sincerely,




Michelle G. Bulls, on behalf Terri Jarosik, Chief Grants Management Officer, NIMH
Director, Office of Policy for Extramural Research Administration
Office of Extramural Research




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     12


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                         EXHIBIT 31
3/29/25, 12:59 PMCase 1:25-cv-10814-BEM           Document
                               San Diego State University          77-15
                                                          Mail - Fwd:          FiledAmendment
                                                                      FW: Subcontract 04/14/25      Page 76 of
                                                                                              00129241/00079361    117
                                                                                                                - Terminated


                                                                                                                   Jennifer Sneed <jsneed@sdsu.edu>



  Fwd: FW: Subcontract Amendment 00129241/00079361 - Terminated
  1 message

  Jennifer Sneed <jsneed@sdsu.edu>                                                                                        Sat, Mar 29, 2025 at 12:59 PM
  To: Jennifer Sneed <jsneed@sdsu.edu>


   ---------- Forwarded message ---------
   From: Delwyn Catley <dcatley@sdsu.edu>
   Date: Fri, Mar 28, 2025 at 2:25 PM
   Subject: FW: Subcontract Amendment 00129241/00079361 - Terminated
   To: Annie Moore <amoore3@sdsu.edu>, jsneed@sdsu.edu <jsneed@sdsu.edu>



   Well here’s the first one of ours to get the chop. It wasn’t on my radar b/c I thought we’d spent it out by the grant end date which I believe was
   back in Dec. But online it looks like there is $394 left. If I’m remembering right this was the amount left when the grant ended but we got a no-
   cost extension so I think we should have spent this out subsequently. In any event, I have been continually working on this project up until now
   so I see no reason why we can’t bill for effort prior to March 21 to zero this out.
   Delwyn




   From: Health Sciences District Research Administration <hsdresearch@umkc.edu>
   Date: Friday, March 28, 2025 at 11:51 AM
   To: Annie Moore <amoore3@sdsu.edu>, Delwyn Catley <dcatley@sdsu.edu>, Sarah Harper <sharper@sdsu.edu>
   Cc: Berkley Patton, Jannette <berkleypattonj@umkc.edu>, Hecker, Mark <heckerm@umkc.edu>
   Subject: [EXT] Subcontract Amendment 00129241/00079361 - Terminated

   Hello,



   We are saddened to inform you that NIH Grant “Faithful Response II: COVID-19 Rapid Test-to-Treat with Kansas City Missouri Health African
   American Churches” has been terminated effective March 21st 2025. Therefore, our subcontract with (Principal Investigator Dr. Delwyn
   Catley) also needs to be terminated. UMKC Principal investigator, Dr. Berkley-Patton, plans to appeal the NIH decision, however, we wanted
   to let you know and to please submit any invoices for expenses prior to 3/21/2025, for payment.



   Reason for termination stated in the updated NIH award letter dated 3/23/2025:




https://mail.google.com/mail/u/0/?ik=8bd30ad4d5&view=pt&search=all&permthid=thread-f:1827874660732095904%7Cmsg-a:r-442739000285821917…                  1/2
3/29/25, 12:59 PMCase 1:25-cv-10814-BEM           Document
                               San Diego State University          77-15
                                                          Mail - Fwd:          FiledAmendment
                                                                      FW: Subcontract 04/14/25      Page 77 of
                                                                                              00129241/00079361    117
                                                                                                                - Terminated
   Thank you,

   Clare Carson



   Grant Specialist

   Cmkmv7@umkc.edu

   University Health and the UMKC School of Medicine

   Research Administration

   2411 Holmes Street

   Kansas City, MO 64108




   (   P: 816-235-5366

   Office = UMKC School of Medicine, 4th floor (M4-309) Blue-unit




        NIH_NOA_1U01MD018310-01_3.25.2025.pdf
        320K




https://mail.google.com/mail/u/0/?ik=8bd30ad4d5&view=pt&search=all&permthid=thread-f:1827874660732095904%7Cmsg-a:r-442739000285821917…   2/2
Case 1:25-cv-10814-BEM   Document 77-15   Filed 04/14/25   Page 78 of 117




                         EXHIBIT 32
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Raman Paul

From:                Bulls, Michelle G. (NIH/OD) [E] <michelle.bulls@nih.gov>
Sent:                Wednesday, March 26, 2025 11:25 AM
To:                  Susan Pelton
Subject:             Grant Termination Notification




3/26/2025
Susan Pelton
San Francisco State University
spelton@sfsu.edu


Dear Susan Pelton:
Effective with the date of this letter, funding for Project Number 5U01ES036366-03 is hereby terminated
pursuant to the Fiscal Year 2024 National Institutes of Health (“NIH”) Grants Policy Statement,[1] and 2 C.F.R.
§ 200.340(a)(2). This letter constitutes a notice of termination.[2]
The 2024 Policy Statement applies to your project because NIH approved your grant on 7/1/2024, and
“obligations generally should be determined by reference to the law in effect when the grants were made.”[3]
The 2024 Policy Statement “includes the terms and conditions of NIH grants and cooperative agreements and is
incorporated by reference in all NIH grant and cooperative agreement awards.[4]” According to the Policy
Statement, “NIH may … terminate the grant in whole or in part as outlined in 2 CFR Part 200.340.[5]” At the
time your grant was issued, 2 C.F.R. § 200.340(a)(2) permitted termination “[b]y the Federal awarding agency
or pass-through entity, to the greatest extent authorized by law, if an award no longer effectuates the program
goals or agency priorities.”
This award no longer effectuates agency priorities. Research programs based primarily on artificial and non-
scientific categories, including amorphous equity objectives, are antithetical to the scientific inquiry, do nothing
to expand our knowledge of living systems, provide low returns on investment, and ultimately do not enhance
health, lengthen life, or reduce illness. Worse, so-called diversity, equity, and inclusion (“DEI”) studies are
often used to support unlawful discrimination on the basis of race and other protected characteristics, which
harms the health of Americans. Therefore, it is the policy of NIH not to prioritize such research programs.
Although “NIH generally will suspend (rather than immediately terminate) a grant and allow the recipient an
opportunity to take appropriate corrective action before NIH makes a termination decision,”[6] no corrective
action is possible here. The premise of this award is incompatible with agency priorities, and no modification of
the project could align the project with agency priorities.


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Costs resulting from financial obligations incurred after termination are not allowable.[7] Nothing in this notice
excuses either NIH or you from complying with the closeout obligations imposed by 2 C.F.R. §§ 75.381-
75.390. NIH will provide any information required by the Federal Funding Accountability and Transparency
Act or the Office of Management and Budget’s regulations to USAspending.gov.[8]
Administrative Appeal
You may object and provide information and documentation challenging this termination.[9] NIH has
established a first-level grant appeal procedure that must be exhausted before you may file an appeal with the
Departmental Appeals Board.[10]
You must submit a request for such review to Dr. Matt Memoli no later than 30 days after the written
notification of the determination is received, except that if you show good cause why an extension of time
should be granted, Dr. Memoli may grant an extension of time.[11]
The request for review must include a copy of the adverse determination, must identify the issue(s) in dispute,
and must contain a full statement of your position with respect to such issue(s) and the pertinent facts and
reasons in support of your position. In addition to the required written statement, you shall provide copies of
any documents supporting your claim.[12]


Sincerely,




Michelle G. Bulls, on behalf of Jenny Greer, Chief Grants Management Officer, NIEHS
Director, Office of Policy for Extramural Research Administration
Office of Extramural Research




[1]
    h ps://grants.nih.gov/grants/policy/nihgps/nihgps.pdf.
[2]
    2 C.F.R. § 200.341(a); 45 C.F.R. § 75.373
[3]
    BenneƩ v. New Jersey, 470 U.S. 632, 638 (1985).
[4]
    NIH Grants Policy Statement at IIA‐1.
[5]
    Id. at IIA‐155.
[6]
    NIH Grants Policy Statement at IIA‐156.
[7]
    See 2 C.F.R. § 200.343 (2024).
[8]
    2 C.F.R. § 200.341(c); 45 C.F.R. § 75.373(c)
[9]
    See 45 C.F.R. § 75.374.
[10]
     See 42 C.F.R. Part 50, Subpart D
[11]
     11 Id. § 50.406(a)
[12]
     12 Id. § 50.406(b)




                                                             2
            Case 1:25-cv-10814-BEM            Document 77-15          Filed 04/14/25   Page 81 of 117


Raman Paul

From:                Bulls, Michelle G. (NIH/OD) [E] <michelle.bulls@nih.gov>
Sent:                Wednesday, March 26, 2025 11:25 AM
To:                  Susan Pelton
Subject:             Grant Termination Notification




3/26/2025
Susan Pelton
San Francisco State University
spelton@sfsu.edu


Dear Susan Pelton:
Effective with the date of this letter, funding for Project Number 3U01ES036366-03S1 is hereby terminated
pursuant to the Fiscal Year 2024 National Institutes of Health (“NIH”) Grants Policy Statement,[1] and 2 C.F.R.
§ 200.340(a)(2). This letter constitutes a notice of termination.[2]
The 2024 Policy Statement applies to your project because NIH approved your grant on 7/1/2024, and
“obligations generally should be determined by reference to the law in effect when the grants were made.”[3]
The 2024 Policy Statement “includes the terms and conditions of NIH grants and cooperative agreements and is
incorporated by reference in all NIH grant and cooperative agreement awards.[4]” According to the Policy
Statement, “NIH may … terminate the grant in whole or in part as outlined in 2 CFR Part 200.340.[5]” At the
time your grant was issued, 2 C.F.R. § 200.340(a)(2) permitted termination “[b]y the Federal awarding agency
or pass-through entity, to the greatest extent authorized by law, if an award no longer effectuates the program
goals or agency priorities.”
This award no longer effectuates agency priorities. Research programs based primarily on artificial and non-
scientific categories, including amorphous equity objectives, are antithetical to the scientific inquiry, do nothing
to expand our knowledge of living systems, provide low returns on investment, and ultimately do not enhance
health, lengthen life, or reduce illness. Worse, so-called diversity, equity, and inclusion (“DEI”) studies are
often used to support unlawful discrimination on the basis of race and other protected characteristics, which
harms the health of Americans. Therefore, it is the policy of NIH not to prioritize such research programs.
Although “NIH generally will suspend (rather than immediately terminate) a grant and allow the recipient an
opportunity to take appropriate corrective action before NIH makes a termination decision,”[6] no corrective
action is possible here. The premise of this award is incompatible with agency priorities, and no modification of
the project could align the project with agency priorities.


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Costs resulting from financial obligations incurred after termination are not allowable.[7] Nothing in this notice
excuses either NIH or you from complying with the closeout obligations imposed by 2 C.F.R. §§ 75.381-
75.390. NIH will provide any information required by the Federal Funding Accountability and Transparency
Act or the Office of Management and Budget’s regulations to USAspending.gov.[8]
Administrative Appeal
You may object and provide information and documentation challenging this termination.[9] NIH has
established a first-level grant appeal procedure that must be exhausted before you may file an appeal with the
Departmental Appeals Board.[10]
You must submit a request for such review to Dr. Matt Memoli no later than 30 days after the written
notification of the determination is received, except that if you show good cause why an extension of time
should be granted, Dr. Memoli may grant an extension of time.[11]
The request for review must include a copy of the adverse determination, must identify the issue(s) in dispute,
and must contain a full statement of your position with respect to such issue(s) and the pertinent facts and
reasons in support of your position. In addition to the required written statement, you shall provide copies of
any documents supporting your claim.[12]


Sincerely,




Michelle G. Bulls, on behalf of Jenny Greer, Chief Grants Management Officer, NIEHS
Director, Office of Policy for Extramural Research Administration
Office of Extramural Research




[1]
    h ps://grants.nih.gov/grants/policy/nihgps/nihgps.pdf.
[2]
    2 C.F.R. § 200.341(a); 45 C.F.R. § 75.373
[3]
    BenneƩ v. New Jersey, 470 U.S. 632, 638 (1985).
[4]
    NIH Grants Policy Statement at IIA‐1.
[5]
    Id. at IIA‐155.
[6]
    NIH Grants Policy Statement at IIA‐156.
[7]
    See 2 C.F.R. § 200.343 (2024).
[8]
    2 C.F.R. § 200.341(c); 45 C.F.R. § 75.373(c)
[9]
    See 45 C.F.R. § 75.374.
[10]
     See 42 C.F.R. Part 50, Subpart D
[11]
     11 Id. § 50.406(a)
[12]
     12 Id. § 50.406(b)




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Raman Paul

From:                Bulls, Michelle G. (NIH/OD) [E] <michelle.bulls@nih.gov>
Sent:                Wednesday, March 26, 2025 11:25 AM
To:                  Susan Pelton
Subject:             Grant Termination Notification




3/26/2025
Susan Pelton
San Francisco State University
spelton@sfsu.edu


Dear Susan Pelton:
Effective with the date of this letter, funding for Project Number 3U01ES036366-03S2 is hereby terminated
pursuant to the Fiscal Year 2024 National Institutes of Health (“NIH”) Grants Policy Statement,[1] and 2 C.F.R.
§ 200.340(a)(2). This letter constitutes a notice of termination.[2]
The 2024 Policy Statement applies to your project because NIH approved your grant on 11/1/2024, and
“obligations generally should be determined by reference to the law in effect when the grants were made.”[3]
The 2024 Policy Statement “includes the terms and conditions of NIH grants and cooperative agreements and is
incorporated by reference in all NIH grant and cooperative agreement awards.[4]” According to the Policy
Statement, “NIH may … terminate the grant in whole or in part as outlined in 2 CFR Part 200.340.[5]” At the
time your grant was issued, 2 C.F.R. § 200.340(a)(2) permitted termination “[b]y the Federal awarding agency
or pass-through entity, to the greatest extent authorized by law, if an award no longer effectuates the program
goals or agency priorities.”
This award no longer effectuates agency priorities. Research programs based primarily on artificial and non-
scientific categories, including amorphous equity objectives, are antithetical to the scientific inquiry, do nothing
to expand our knowledge of living systems, provide low returns on investment, and ultimately do not enhance
health, lengthen life, or reduce illness. Worse, so-called diversity, equity, and inclusion (“DEI”) studies are
often used to support unlawful discrimination on the basis of race and other protected characteristics, which
harms the health of Americans. Therefore, it is the policy of NIH not to prioritize such research programs.
Although “NIH generally will suspend (rather than immediately terminate) a grant and allow the recipient an
opportunity to take appropriate corrective action before NIH makes a termination decision,”[6] no corrective
action is possible here. The premise of this award is incompatible with agency priorities, and no modification of
the project could align the project with agency priorities.


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             Case 1:25-cv-10814-BEM                Document 77-15   Filed 04/14/25     Page 84 of 117

Costs resulting from financial obligations incurred after termination are not allowable.[7] Nothing in this notice
excuses either NIH or you from complying with the closeout obligations imposed by 2 C.F.R. §§ 75.381-
75.390. NIH will provide any information required by the Federal Funding Accountability and Transparency
Act or the Office of Management and Budget’s regulations to USAspending.gov.[8]
Administrative Appeal
You may object and provide information and documentation challenging this termination.[9] NIH has
established a first-level grant appeal procedure that must be exhausted before you may file an appeal with the
Departmental Appeals Board.[10]
You must submit a request for such review to Dr. Matt Memoli no later than 30 days after the written
notification of the determination is received, except that if you show good cause why an extension of time
should be granted, Dr. Memoli may grant an extension of time.[11]
The request for review must include a copy of the adverse determination, must identify the issue(s) in dispute,
and must contain a full statement of your position with respect to such issue(s) and the pertinent facts and
reasons in support of your position. In addition to the required written statement, you shall provide copies of
any documents supporting your claim.[12]


Sincerely,




Michelle G. Bulls, on behalf of Jenny Greer, Chief Grants Management Officer, NIEHS
Director, Office of Policy for Extramural Research Administration
Office of Extramural Research




[1]
    h ps://grants.nih.gov/grants/policy/nihgps/nihgps.pdf.
[2]
    2 C.F.R. § 200.341(a); 45 C.F.R. § 75.373
[3]
    BenneƩ v. New Jersey, 470 U.S. 632, 638 (1985).
[4]
    NIH Grants Policy Statement at IIA‐1.
[5]
    Id. at IIA‐155.
[6]
    NIH Grants Policy Statement at IIA‐156.
[7]
    See 2 C.F.R. § 200.343 (2024).
[8]
    2 C.F.R. § 200.341(c); 45 C.F.R. § 75.373(c)
[9]
    See 45 C.F.R. § 75.374.
[10]
     See 42 C.F.R. Part 50, Subpart D
[11]
     11 Id. § 50.406(a)
[12]
     12 Id. § 50.406(b)




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                         EXHIBIT 33
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orsp@sfsu edu

From:              Columbia University – SPA <spa@cumc.columbia.edu>
Sent:              Saturday, March 22, 2025 7:16 AM
To:                orsp@sfsu edu
Cc:                Columbia University – SPA; grantreview@columbia.edu; Hughes, Tonda L.
Subject:           Important Information regarding your Subaward with Columbia University



Re:    Prime award No. 5R01AA027252‐05
        Subaward No. 1(GG014711‐01)

Dear Partner:

The University received notice from the US Government, that it has terminated the above‐referenced award in
full, effectively immediately. Given the complexity of subaward management, we will be managing
subawardees on a case‐by‐case approach, and will be in touch with you for further discussion and
information.

In the meantime, you must immediately limit expenditures on the award only to those necessary to achieve a
minimum level of research continuity. New equipment purchases and travel are prohibited. Columbia does not
anticipate reimbursing expenditures that exceed a historical run‐rate on the award (with the run‐rate
excluding travel, equipment and significant one‐time purchases). If you anticipate your personnel expenses in
the thirty‐day period ending March 31, 2025 will exceed 5% of the total annual personnel budget, and you are
concerned about research continuity at this level of expenditure, you must request advance approval for
expenditure. You may submit any request for approval to the Columbia PI, who will escalate it within the
University for appropriate approval.

Please confirm receipt of this communication and that you have understood and actioned the directive on the
above‐referenced award.

Thank you for your understanding and prompt attention to this matter.

Sincerely,

William Berger
Assistant Vice President
Sponsored Projects Administration
Columbia University




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                         EXHIBIT 34
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---------- Forwarded message ---------
From: Research Foundation Office Sponsored Projects Mailbox
<research-foundation-osp@sjsu.edu>
Date: Mon, Mar 3, 2025 at 9:43 AM
Subject: Fwd: Termination of Subaward No. KK2321
To: Jessica Trask <jessica.trask@sjsu.edu>, VP of Research and Innovation Mailbox
<vp.researchandinnovation@sjsu.edu>


Hi Jessica,
Please see below with the PTE. NIH is canceling an award. Laurie Drabble is the PI. Let me
know what information you need.
Thank you,
Deb

---------- Forwarded message ---------
From: Daniela Gallardo <gallardo@research.ucsb.edu>
Date: Fri, Feb 28, 2025 at 4:46 PM
Subject: Termination of Subaward No. KK2321
To: <research-foundation-osp@sjsu.edu>
Cc: Bethany Guerrero <baguerrero@ucsb.edu>, Ector Flores-Garcia
<efloresgarcia@ucsb.edu>, GGSE Contracts & Grants team <CG.team@education.ucsb.edu>


Hello,

NIH has decided to terminate the award titled, "Health Effects of Intersectional Stigma among
Sexual minority Women" on February 28, 2025, effective immediately. With that said all
activities must be ceased and we must terminate all subawards, including subaward no.
KK2321, under this project (R21AA029513). I have attached a copy of the notification for
reference.

We will provide you with an official notification in the coming days.

If you have any questions or would like to discuss further, please let me know.


best,
Daniela

                          Daniela Gallardo
    Case 1:25-cv-10814-BEM                     Document 77-15   Filed 04/14/25   Page 89 of 117




                                Sr. Sponsored Projects Officer/Subaward
                                Officer
                                Office of Research
                                Office: (805) 893-7027
                                Email: gallardo@research.ucsb.edu



Email Offline Day: Thursday
Upcoming out of office:
Upcoming office closure: March 21 (Holidays)
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                                                                                  Public Health Service
                                                                                  National Institutes of Health
                                                                                  National Institute on
                                                                                  Alcohol
                                                                                  Abuse and Alcoholism
                                                                                  6700B Rockledge Drive
                                                                                  Bethesda, MD 20892-6902


February 28, 2025


Elizabeth Carrillo
Sponsored Projects Analyst
The Regents of the University of California, Santa Barbara
3227 Cheadle Hall, 3rd Floor
Santa Barbara, CA 931062050

Dear Elizabeth Carrillo,


       Funding for Project Number 5 R21 AA029513-02 is hereby terminated pursuant to the
2024                                                       ,1 and 2 C.F.R. § 200.340(a)(2)
(2024). This letter constitutes a notice of termination.2

       The 2024 Policy Statement applies to your project because NIH approved your grant on
08/18/2023
                              3




cooperative agreements and is incorporated by reference in all NIH grant and cooperative
                    4
                                                      5
                                                      At the time your grant was issued, 2 C.F.R.
§                                                                                 -through entity,
to the greatest extent authorized by law, if an award no longer effectuates the program goals or


        This award no longer effectuates agency priorities. NIH is obligated to carefully steward
grant awards to ensure taxpayer dollars are used in ways that benefit the American people and
improve their quality of life. Your project does not satisfy these criteria. Research programs based
primarily on artificial and non-scientific categories, including amorphous equity objectives, are
antithetical to the scientific inquiry, do nothing to expand our knowledge of living systems, provide

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     Case 1:25-cv-10814-BEM          Document 77-15        Filed 04/14/25      Page 91 of 117




low returns on investment, and ultimately do not enhance health, lengthen life, or reduce illness.
Worse, so-
discrimination on the basis of race and other protected characteristics, which harms the health of
Americans. Therefore, it is the policy of NIH not to prioritize such research programs.


recipient an opportunity to take appropriate corrective action before NIH makes a termination
           6
             no corrective action is possible here. The premise of Project Number 5 R21
AA029513-02 is incompatible with agency priorities, and no modification of the project could
align the project with agency priorities.

      Costs resulting from financial obligations incurred after termination are not allowable.7
Nothing in this notice excuses either NIH or you from complying with the closeout obligations
imposed by 2 C.F.R. §§ 75.381-75.390. NIH will provide any information required by the Federal

regulations to USAspending.gov.8

Administrative Appeal

        You may object and provide information and documentation challenging this termination.9
NIH has established a first-level grant appeal procedure that must be exhausted before you may
file an appeal with the Departmental Appeals Board.10

       You must submit a request for such review to Matthew J. Memoli, MD, MS, Acting
Director, National Institutes of Health no later than 30 days after the written notification of the
determination is received, except that if you show good cause why an extension of time should be
granted, Matthew J. Memoli, MD, MS, Acting Director, National Institutes of Health may grant
an extension of time.11

        The request for review must include a copy of the adverse determination, must identify the
issue(s) in dispute, and must contain a full statement of your position with respect to such issue(s)
and the pertinent facts and reasons in support of your position. In addition to the required written
statement, you shall provide copies of any documents supporting your claim.12

Sincerely,

        Judy S. Fox


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                         EXHIBIT 35
       Case 1:25-cv-10814-BEM              Document 77-15            Filed 04/14/25   Page 93 of 117


                                                       Friday,
                                                       Friday, March
                                                               March 28,
                                                                     28, 2025
                                                                         2025 at
                                                                              at 09:04:37
                                                                                 09:04:37 Paciﬁc
                                                                                          Paciﬁc Daylight
                                                                                                 Daylight Time
                                                                                                          Time

Subject:
Subject: FW: Information regarding URISE award
Date:
Date:    Thursday, March 27, 2025 at 11:06:25 Paciﬁc Daylight Time
From:
From:    Imelda Hammes
To:
To:       Gillian Fischer, Chi Nguyen, Dakota Hughes


FYI


Imelda Hammes
Post Award Analyst
OWice of Sponsored Research and Programs
(T) 310-243-2855
ihammes@csudh.edu


From:
From: Rosenzweig, Jus2n (NIH/NIGMS) [E] <rosenzwj@nigms.nih.gov>
Sent:
Sent: Thursday, March 27, 2025 11:00 AM
To:
To: Imelda Hammes <ihammes@csudh.edu>
Subject:
Subject: Informa2on regarding URISE award


RE: T34 GM140930-03
Contact PI: MCCAULEY, ERIN PATRICIA
Organizational Representative IMELDA HAMMES,
NIH is currently undergoing a process to assess whether pending awards perpetuate
current agency priorities. You are advised to cease project activities as of the
current budget period end date of 3/31/2025. Further, please reconcile expenditures with
disbursements in the Payment Management System as soon as possible but no later than
4/4/2025, for project activities that occurred through 3/31/2025. Additionally, please
amend all active appointments in xTrain to end as of 3/31/2025.
Sincerely,
Justin Rosenzweig
Grants Management Team Leader, GAB
National Institute of General Medical Sciences, NIH/DHHS




                                                                                                                 1 of 1
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                         EXHIBIT 36
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From:              Vas Narayanaswami
To:                Bessie Strategos; Crystal Trocadero; Jason Schwans
Cc:                Cheyanne Ramon; Barbara Taylor; Curtis Bennett; Kelly Young; Yvette Castano
Subject:           Fw: Information regarding URISE award
Date:              Thursday, March 27, 2025 11:27:12 AM


Hello everyone,
Here is the response I received when I prompted the T34 program officer about the
future of the URISE program....

I am going to go take a deep breath and process this information.

Vas




From: Rosenzweig, Justin (NIH/NIGMS) [E] <rosenzwj@nigms.nih.gov>
Sent: Thursday, March 27, 2025 11:03 AM
To: Vas Narayanaswami <vas.narayanaswami@csulb.edu>
Subject: Information regarding URISE award

   You don't often get email from rosenzwj@nigms.nih.gov. Learn why this is important

CAUTION: This email was sent from an external source.

RE: T34 GM149378-02
Contact PI: NARAYANASWAMI, VASANTHY
Organizational Representative MS BESSIE STRATEGOS,
NIH is currently undergoing a process to assess whether pending awards perpetuate
current agency priorities. You are advised to cease project activities as of the
current budget period end date of 3/31/2025. Further, please reconcile
expenditures with disbursements in the Payment Management System as soon as
possible but no later than 4/4/2025, for project activities that occurred
through 3/31/2025. Additionally, please amend all active appointments in xTrain to end
as of 3/31/2025.  
Sincerely,
Justin Rosenzweig
Grants Management Team Leader, GAB
National Institute of General Medical Sciences, NIH/DHHS
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                         EXHIBIT 37
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                                      Friday, March 28, 2025 at 15:57:53 Pacific Daylight Time

Subject: Information regarding URISE award
Date:        Thursday, March 27, 2025 at 11:01:31 AM Pacific Daylight Time
From:        Rosenzweig, Justin (NIH/NIGMS) [E]
To:          Manzueta, Charlene Rosenda
RE: T34 GM136450-04
Contact PI: ZAVALA, MARIAELENA B
Organizational Representative MICHAEL EPPING,
NIH is currently undergoing a process to assess whether pending awards perpetuate
current agency priorities. You are advised to cease project activities as of the
current budget period end date of 3/31/2025. Further, please reconcile expenditures with
disbursements in the Payment Management System as soon as possible but no later
than 4/4/2025, for project activities that occurred through 3/31/2025. Additionally, please
amend all active appointments in xTrain to end as of 3/31/2025.
Sincerely,
Justin Rosenzweig
Grants Management Team Leader, GAB
National Institute of General Medical Sciences, NIH/DHHS




                                                                                                 1 of 1
Case 1:25-cv-10814-BEM   Document 77-15   Filed 04/14/25   Page 98 of 117




                         EXHIBIT 38
3/25/25, 5:29 PM Case 1:25-cv-10814-BEM        Document
                                    FW: [External]           77-15 PI:
                                                   NoA: 5R25AG076390-03 Filed  04/14/25
                                                                          Jennifer Piazza - Tiwari,Page    99 of 117
                                                                                                   Binod - Outlook




             Outlook


       FW: [External] NoA: 5R25AG076390-03 PI: Jennifer Piazza

       From Weber, Myrna <myweber@Fullerton.edu>
       Date Mon 3/24/2025 2:55 PM
       To    Tiwari, Binod <btiwari@fullerton.edu>
       Cc    Tranilla, Tina <ttranilla@Fullerton.edu>; Riveron, Olga <oriveron@fullerton.edu>


         1 attachment (235 KB)
       5R25AG076390-03-Noa.pdf;




       Hi Binod

       We received a termination notice for Jennifer Piazza and Laura Zettel-Watson’s R25.




       Myrna A. Weber, M.B.A. CRA
       Sr Director, Sponsored Programs
       1121 N. State College Blvd 2nd Floor ASC-213
       Fullerton, CA 92831-3104
       ( 657-278-7679/Cell 714-864-8410
       * myweber@fullerton.edu




about:blank?windowId=SecondaryReadingPane16                                                                            1/2
3/25/25, 5:29 PM Case 1:25-cv-10814-BEM        Document
                                     FW: [External]           77-15 Filed
                                                    NoA: 5R25AG076390-03         04/14/25
                                                                         PI: Jennifer               Page
                                                                                      Piazza - Tiwari, Binod -100  of 117
                                                                                                              Outlook

       From: eraNotifications@mail.nih.gov <eraNotifications@mail.nih.gov>
       Sent: Sunday, March 23, 2025 9:08 PM
       To: Awards <awards@Fullerton.edu>
       Subject: [External] NoA: 5R25AG076390-03 PI: Jennifer Piazza

       Grant Number: 5R25AG076390-03
       Principal Investigator: Piazza, Jennifer(Contact); Zettel-Watson, Laura
       Project Title: A Multidimensional Aging Science Program: MSTEM Scholars Trained in Aging
       Research (MSTEM STAR)
       Institution: CSU Fullerton Auxiliary Services Corporation
       CFDA: 93.866
       OC: 41032
       PCC: 2BTRNDT
       Award Issue Date: 03/24/2025
       Grants Management Officer: Melvin, E.
       Program Official: Torres, Delany
       Grants Specialist: McGraw, Tracie

       ***This is an automated notification - Please do not reply to this message.***




about:blank?windowId=SecondaryReadingPane16                                                                                 2/2
Case 1:25-cv-10814-BEM   Document 77-15   Filed 04/14/25   Page 101 of 117




                          EXHIBIT 39
3/28/25, 3:27 PM Case 1:25-cv-10814-BEM          Document
                                                FW:              77-15 URISE
                                                    Information regarding Filed  04/14/25
                                                                             award - Tiwari, Binod - Page
                                                                                                     Outlook 102 of 117




              Outlook


       FW: Information regarding URISE award

       From Cuajungco, Math <mcuajungco@fullerton.edu>
       Date Thu 3/27/2025 11:13 AM
       To     Tiwari, Binod <btiwari@fullerton.edu>; Johnson, Marie <mariejohnson@Fullerton.edu>
       Cc     Le, Tran <trannle@Fullerton.edu>; Jimenez Ortiz, Veronica <vjimenezortiz@Fullerton.edu>


       Good morning Binod and Marie,
       I’m forwarding message I just got from NIH/NIGMS. It appears Year 3 continuation is pending
       and likely to be terminated (but still hoping things will turn around). Still very disappointing!


       Math




       From: Rosenzweig, Justin (NIH/NIGMS) [E] <rosenzwj@nigms.nih.gov>
       Date: Thursday, March 27, 2025 at 11:06 AM
       To: Cuajungco, Math <mcuajungco@fullerton.edu>
       Subject: [External] Information regarding URISE award

       RE: T34 GM149493-02
       Contact PI: CUAJUNGCO, MATH P
       Organizational Representative MRS CATHERINE M ANDERS,
       NIH is currently undergoing a process to assess whether pending awards perpetuate current
       agency priorities. You are advised to cease project activities as of the current budget period end
       date of 3/31/2025. Further, please reconcile expenditures with disbursements in the Payment
       Management System as soon as possible but no later than 4/4/2025, for project activities that
       occurred through 3/31/2025. Additionally, please amend all active appointments in xTrain to end
       as of 3/31/2025.
       Sincerely,
       Justin Rosenzweig
       Grants Management Team Leader, GAB
       National Institute of General Medical Sciences, NIH/DHHS




about:blank?windowId=SecondaryReadingPane31                                                                               1/1
Case 1:25-cv-10814-BEM   Document 77-15   Filed 04/14/25   Page 103 of 117




                  EXHIBIT 40
          [INTENTIONALLY OMITTED]
Case 1:25-cv-10814-BEM   Document 77-15   Filed 04/14/25   Page 104 of 117




                          EXHIBIT 41
             Case 1:25-cv-10814-BEM       Document 77-15       Filed 04/14/25    Page 105 of 117


Raman Paul

From:              Rosenzweig, Justin (NIH/NIGMS) [E] <rosenzwj@nigms.nih.gov>
Sent:              Thursday, March 27, 2025 11:00 AM
To:                Raman Paul
Subject:           Information regarding URISE award



RE: T34 GM145400‐03

Contact PI: ESQUERRA, RAYMOND M

Organiza onal Representa ve RAMAN PAUL,

NIH is currently undergoing a process to assess whether pending awards perpetuate current agency priori es.
You are advised to cease project ac vi es as of the current budget period end date of 3/31/2025. Further,
please reconcile expenditures with disbursements in the Payment Management System as soon as possible
but no later than 4/4/2025, for project ac vi es that occurred through 3/31/2025. Addi onally, please amend
all ac ve appointments in xTrain to end as of 3/31/2025.

Sincerely,

Jus n Rosenzweig
Grants Management Team Leader, GAB
Na onal Ins tute of General Medical Sciences, NIH/DHHS




                                                       1
Case 1:25-cv-10814-BEM   Document 77-15   Filed 04/14/25   Page 106 of 117




                          EXHIBIT 42
  Case 1:25-cv-10814-BEM           Document 77-15        Filed 04/14/25      Page 107 of 117




---------- Forwarded message ---------
From: Rosenzweig, Justin (NIH/NIGMS) [E] <rosenzwj@nigms.nih.gov>
Date: Thu, Mar 27, 2025 at 11:06 AM
Subject: Information regarding URISE award
To: cleber.ouverney@sjsu.edu <cleber.ouverney@sjsu.edu>


RE: T34 GM149461-02
Contact PI: OUVERNEY, CLEBER COSTA
Organizational Representative DEBORAH MALONEY,
NIH is currently undergoing a process to assess whether pending awards perpetuate current
agency priorities. You are advised to cease project activities as of the current budget period end
date of 3/31/2025. Further, please reconcile expenditures with disbursements in the Payment
Management System as soon as possible but no later than 4/4/2025, for project activities that
occurred through 3/31/2025. Additionally, please amend all active appointments in xTrain to end
as of 3/31/2025.
Sincerely,
Justin Rosenzweig
Grants Management Team Leader, GAB
National Institute of General Medical Sciences, NIH/DHHS
Case 1:25-cv-10814-BEM   Document 77-15   Filed 04/14/25   Page 108 of 117




                          EXHIBIT 43
4/1/25, 3:07 PM Case 1:25-cv-10814-BEM          Document 77-15
                                                      Mail             Filed
                                                           - Allie Bakaly Walter04/14/25
                                                                                - Outlook    Page 109 of 117


            Outlook


      RE: Information regarding URISE award

       From Darya Veach <dveach@calpoly.edu>
       Date Thu 3/27/2025 1:52 PM
       To    Dawn Brown Neill <dbneill@calpoly.edu>; Allie Bakaly Walter <abwalter@calpoly.edu>; Maral Kismetian
             <mkismeti@calpoly.edu>; Amy Velasco <aevelasc@calpoly.edu>
       Cc    Trish Brock <pbrock@calpoly.edu>; Alexis Renee Sexton <arsexton@calpoly.edu>


      I’m including Trish and Alexis here as well. This if for Todd and Sarah Keadle’s URISE project.

      Summary of grant details:

      Title: U-RISE at Cal Poly
      Sponsor: NIH
      Project: 45199
      GDO: 22-289
      Project period (as funded): 4/1/24-3/31/25 (originally awarded end date 3/31/2028)
      Total awarded to date: $444,764.00 (total anticipated $1,334,291)
      Expenditures as of 3/26/25: $352,914.84
      Unspent balance: $91,849.16

      Please let me know if you have specific questions. I’m sure additional information will be coming in the
      following days.

      Thanks,
      Darya


      DARYA VEACH, M.S.
      pronouns she/her
      Director, Sponsored Programs Office
      Division of Research
      Cal Poly Partners
      Cal Poly, San Luis Obispo, CA
      _____
      Main: 805-756-1123
      Direct: 805-756-5348
      www.research.calpoly.edu
      www.calpolypartners.org


      From: Stephany Martin <smarti47@calpoly.edu>
      Sent: Thursday, March 27, 2025 11:09 AM
      To: Dawn Brown Neill <dbneill@calpoly.edu>; Allie Bakaly Walter <abwalter@calpoly.edu>; Darya Veach
      <dveach@calpoly.edu>; Maral Kismetian <mkismeti@calpoly.edu>; Amy Velasco <aevelasc@calpoly.edu>
      Subject: FW: Information regarding URISE award
      Importance: High


https://outlook.office.com/mail/inbox/id/AAQkADY1MzEyNGYyLTFlNjYtNDNkZS1hMmUyLWZkODM2ODM5ZDc3NAAQANxjNPQdrEgJm15sK4IhPxs…   1/3
4/1/25, 3:07 PM Case 1:25-cv-10814-BEM           Document 77-15
                                                       Mail             Filed
                                                            - Allie Bakaly Walter04/14/25
                                                                                 - Outlook   Page 110 of 117
      Hi, just received this. 45199/22-289

      Thank you,

      Stephany Martin
      Contract & Grants Analyst

      Division of Research
      Sponsored Programs
      San Luis Obispo, CA 93407
      Phone: (805) 756-7322

      https://research.calpoly.edu
      https://calpolypartners.org/


      From: Tyler Alvord <talvord@calpoly.edu>
      Sent: Thursday, March 27, 2025 11:07 AM
      To: Stephany Martin <smarti47@calpoly.edu>
      Subject: Fw: Information regarding URISE award

      Stephany -

      Just making sure this got sent to you as well.

      Thanks,


      Tyler Alvord

      Research Administration Officer II

      California Polytechnic State University

      San Luis Obispo, CA 93407-0001



      Direct: 805-756-1449

      https://grants.calpoly.edu/



      Register here to set up your ORCID: https://orcid.org/signin

      NSF requires investigators to use SciENcv to manage their biosketches and current and pending documents.




      From: Rosenzweig, Justin (NIH/NIGMS) [E] <rosenzwj@nigms.nih.gov>
      Sent: Thursday, March 27, 2025 11:00 AM


https://outlook.office.com/mail/inbox/id/AAQkADY1MzEyNGYyLTFlNjYtNDNkZS1hMmUyLWZkODM2ODM5ZDc3NAAQANxjNPQdrEgJm15sK4IhPxs…   2/3
4/1/25, 3:07 PM Case 1:25-cv-10814-BEM          Document 77-15
                                                      Mail             Filed
                                                           - Allie Bakaly Walter04/14/25
                                                                                - Outlook    Page 111 of 117
      To: Tyler Alvord <talvord@calpoly.edu>
      Subject: Information regarding URISE award

      RE: T34 GM149492-02
      Contact PI: HAGOBIAN, TODD ALAN
      Organizational Representative STEPHANY MARTIN,
      NIH is currently undergoing a process to assess whether pending awards perpetuate current
      agency priorities. You are advised to cease project activities as of the current budget period end
      date of 3/31/2025. Further, please reconcile expenditures with disbursements in the Payment
      Management System as soon as possible but no later than 4/4/2025, for project activities that
      occurred through 3/31/2025. Additionally, please amend all active appointments in xTrain to end
      as of 3/31/2025.
      Sincerely,
      Justin Rosenzweig
      Grants Management Team Leader, GAB
      National Institute of General Medical Sciences, NIH/DHHS




https://outlook.office.com/mail/inbox/id/AAQkADY1MzEyNGYyLTFlNjYtNDNkZS1hMmUyLWZkODM2ODM5ZDc3NAAQANxjNPQdrEgJm15sK4IhPxs…   3/3
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                          EXHIBIT 44
                 Case 1:25-cv-10814-BEM                 Document 77-15   Filed 04/14/25      Page 113 of 117




                  April 2, 2025

                  Raman Paul
                  1600 Holloway Ave.
                  San Francisco, CA 94132

                  Dear Raman Paul:

                  Funding for Project Number 5T34GM145400-03 is hereby terminated pursuant to the 2024
                  National Institutes of Health (“NIH”) Grants Policy Statement,1 and 2 C.F.R. § 200.340(a)(2).
                  This letter constitutes a notice of termination.2

                  The 2024 Policy Statement applies to your project because NIH approved your grant on April 1,
                  2024 and “obligations generally should be determined by reference to the law in effect when the
                  grants were made.”3

                  The 2024 Policy Statement “includes the terms and conditions of NIH grants and cooperative
                  agreements and is incorporated by reference in all NIH grant and cooperative agreement awards.”4
                  According to the Policy Statement, “NIH may … terminate the grant in whole or in part as
                  outlined in 2 CFR Part 200.340.”5 At the time your grant was issued, 2 C.F.R. § 200.340(a)(2)
                  permitted termination “[b]y the Federal awarding agency or pass-through entity, to the greatest
                  extent authorized by law, if an award no longer effectuates the program goals or agency
                  priorities.”

                  This award no longer effectuates agency priorities. Research programs based primarily on
                  artificial and non-scientific categories, including amorphous equity objectives, are antithetical to
                  the scientific inquiry, do nothing to expand our knowledge of living systems, provide low returns
                  on investment, and ultimately do not enhance health, lengthen life, or reduce illness. Worse, so-
                  called diversity, equity, and inclusion (“DEI”) studies are often used to support unlawful
                  discrimination on the basis of race and other protected characteristics, which harms the health of
                  Americans. Therefore, it is the policy of NIH not to prioritize such research programs.

                  Although “NIH generally will suspend (rather than immediately terminate) a grant and allow the
                  recipient an opportunity to take appropriate corrective action before NIH makes a termination


1
  https://grants.nih.gov/grants/policy/nihgps/nihgps.pdf.
2
  2 C.F.R. § 200.341(a); 45 C.F.R. § 75.373
3
  Bennett v. New Jersey, 470 U.S. 632, 638 (1985).
4
  2024 Policy Statement at IIA-1.
5
  Id. at IIA-155.
Case 1:25-cv-10814-BEM               Document 77-15    Filed 04/14/25      Page 114 of 117




decision,”6 no corrective action is possible here. The premise of this award is incompatible with
agency priorities, and no modification of the project could align the project with agency priorities.

Costs resulting from financial obligations incurred after termination are not allowable.7 Nothing
in this notice excuses either NIH or you from complying with the closeout obligations imposed
by 2 C.F.R. §§ 75.381-75.390. NIH will provide any information required by the Federal Funding
Accountability and Transparency Act or the Office of Management and Budget’s regulations to
USAspending.gov.8

Administrative Appeal

You may object and provide information and documentation challenging this termination.9 NIH
has established a first-level grant appeal procedure that must be exhausted before you may file an
appeal with the Departmental Appeals Board.10

You must submit a request for such review to Matthew J. Memoli, M.D., M.S., Acting Director,
NIH no later than 30 days after the written notification of the determination is received, except
that if you show good cause why an extension of time should be granted, Dr. Memoli may grant
an extension of time.11

The request for review must include a copy of the adverse determination, must identify the
issue(s) in dispute, and must contain a full statement of your position with respect to such issue(s)
and the pertinent facts and reasons in support of your position. In addition to the required written
statement, you shall provide copies of any documents supporting your claim.12




6
  2024 Policy Statement at IIA-156.
7
  See 2 C.F.R. § 200.343 (2024).
8
  2 C.F.R. § 200.341(c); 45 C.F.R. § 75.373(c)
9
  See 45 C.F.R. § 75.374.
10
   See 42 C.F.R. Part 50, Subpart D.
11
   Id. § 50.406(a).
12
   Id. § 50.406(b).
Case 1:25-cv-10814-BEM   Document 77-15   Filed 04/14/25   Page 115 of 117




                          EXHIBIT 45
                 Case 1:25-cv-10814-BEM                 Document 77-15   Filed 04/14/25      Page 116 of 117




                  April 2, 2025


                  California State University Fullerton
                  1121 N. State College Blvd.
                  Fullerton, CA 92831-3014


                  Olga Riveron:

                  Funding for Project Number 5T34GM149493-02 is hereby terminated pursuant to the 2024
                  National Institutes of Health (“NIH”) Grants Policy Statement,1 and 2 C.F.R. § 200.340(a)(2).
                  This letter constitutes a notice of termination.2

                  The 2024 Policy Statement applies to your project because NIH approved your grant on April 1,
                  2024 and “obligations generally should be determined by reference to the law in effect when the
                  grants were made.”3

                  The 2024 Policy Statement “includes the terms and conditions of NIH grants and cooperative
                  agreements and is incorporated by reference in all NIH grant and cooperative agreement awards.”4
                  According to the Policy Statement, “NIH may … terminate the grant in whole or in part as
                  outlined in 2 CFR Part 200.340.”5 At the time your grant was issued, 2 C.F.R. § 200.340(a)(2)
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                  extent authorized by law, if an award no longer effectuates the program goals or agency
                  priorities.”

                  This award no longer effectuates agency priorities. Research programs based primarily on
                  artificial and non-scientific categories, including amorphous equity objectives, are antithetical to
                  the scientific inquiry, do nothing to expand our knowledge of living systems, provide low returns
                  on investment, and ultimately do not enhance health, lengthen life, or reduce illness. Worse, so-
                  called diversity, equity, and inclusion (“DEI”) studies are often used to support unlawful
                  discrimination on the basis of race and other protected characteristics, which harms the health of
                  Americans. Therefore, it is the policy of NIH not to prioritize such research programs.

                  Although “NIH generally will suspend (rather than immediately terminate) a grant and allow the
                  recipient an opportunity to take appropriate corrective action before NIH makes a termination

1
  https://grants.nih.gov/grants/policy/nihgps/nihgps.pdf.
2
  2 C.F.R. § 200.341(a); 45 C.F.R. § 75.373
3
  Bennett v. New Jersey, 470 U.S. 632, 638 (1985).
4
  2024 Policy Statement at IIA-1.
5
  Id. at IIA-155.
Case 1:25-cv-10814-BEM               Document 77-15    Filed 04/14/25      Page 117 of 117




decision,”6 no corrective action is possible here. The premise of this award is incompatible with
agency priorities, and no modification of the project could align the project with agency priorities.

Costs resulting from financial obligations incurred after termination are not allowable.7 Nothing
in this notice excuses either NIH or you from complying with the closeout obligations imposed
by 2 C.F.R. §§ 75.381-75.390. NIH will provide any information required by the Federal Funding
Accountability and Transparency Act or the Office of Management and Budget’s regulations to
USAspending.gov.8

Administrative Appeal

You may object and provide information and documentation challenging this termination.9 NIH
has established a first-level grant appeal procedure that must be exhausted before you may file an
appeal with the Departmental Appeals Board.10

You must submit a request for such review to Matthew J. Memoli, M.D., M.S., Acting Director,
NIH no later than 30 days after the written notification of the determination is received, except
that if you show good cause why an extension of time should be granted, Dr. Memoli may grant
an extension of time.11

The request for review must include a copy of the adverse determination, must identify the
issue(s) in dispute, and must contain a full statement of your position with respect to such issue(s)
and the pertinent facts and reasons in support of your position. In addition to the required written
statement, you shall provide copies of any documents supporting your claim.12




6
  2024 Policy Statement at IIA-156.
7
  See 2 C.F.R. § 200.343 (2024).
8
  2 C.F.R. § 200.341(c); 45 C.F.R. § 75.373(c)
9
  See 45 C.F.R. § 75.374.
10
   See 42 C.F.R. Part 50, Subpart D.
11
   Id. § 50.406(a).
12
   Id. § 50.406(b).
